             Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 1 of 76




                               In The United States District Court
                                  Northern District of Georgia
                                        Atlanta    Division



Willie C. Walker                                  ) RICO COMPLAINT
          Plaintiff,                              ) 18 USC 1961- 1968
V.                                                 )
State of Georgia,                                  ) Case   No.--------L---l-.9-~"'C..y.-..-l-i-41
Judge, Tom Campbell;
DSHDD;
Antron Evans.
          Defendants.



                                          RICO Complaint
                                         18 USC 1961-1968


     Comes Now, Willie C. Walker, Pro se and files this his complaint pursuant to Title 18 USC
1961-1968. Petitioner cites code section O.C.G.A. 15-6-21 and moves this court to vacate and
set aside Order Modifying Civil Commitment dated November 8th 2018 in the Superior Court of
Fulton County by Judge Tom Campbell Atlanta Judicial Circuit, Rule 60 of the F.RC.P. Harvey
v. Harvey, 949 F. 2d. 1127, 11th cir.(1992); involuntary commitment-State compulsion for the
Purposes of a suit under the Federal Civil Rights Act. This Honorable Superior Court has
Original jurisdiction pursuant to the Civil Rico remedies at 18 USC 1964. U.S. Supreme Ct.
In Taffin v. Levitt 493 U.S. 455 (1990), and the U.S. Court of Appeals for the ninth circuit in
Lou v. Selzberg 834 U.S. F.2d. 730(a). Petitioner now testifies that the partial list of acts
And events now documented in Exhibits constitutes probable cause for all relief requested,
18 USC 1961(4),(5),(9). and 1962(b).
     During the ten years calendar years, all defendants did cooperate jOintly and severally in the
Commission of the rico predicated acts that itemized in the rico laws at 18usc 1961 (a) and (b)
and did so in violation of the rico laws at 18usc 1962(b), (prohibited activity.
      However, most courts agree that section 1962(c) requires an injury that is not contingent
On future events or speculative in nature. Thus for purposes of sufficiently pleading proximate
Cause, the rico plaintiff must allege an injury that was foreseeable, concrete in nature, and not
subject to speculation. It is necessary to show that a violation of section 1962 occurred before



                                                  1,
          Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 2 of 76




A plaintiff can recover treble damages under section 1964. See all Exhibits attached, Civil
Commitment Orders of the United States District Courts, Bind over Notification-City of
South Fulton Municipal Court. 28 USC- 2244(a), 28 USC-2244(d) (1) (b). 18 USC- 1964(b)
1982 provides: The attorney General may institute proceedings under this section. In any action
Brought by the United States under this section, the court shall proceed as soon as practicable
To the hearing and determination thereof. Pending final determination thereof, the court may at
any time enter such restraining orders or prohibitions, or take such other actions, including
The acceptance of satisfactory performance bonds, as it shall deem proper.



 District Court generally should not Sua Sponte dismiss a habeas petition for failure to
Exhaust state remedies. Prather v. Norman 901 F. 2d. 915, 918.(11th Cir. 1990).
  Requiring petitioner to exhaust his claims in the state courts serves important federal
Interests of comity and judicial efficiency because presenting those claims to the state
Courts may moot the need for federal habeas relief or, at a minimum, focus the factual
And or, legal issues underlying the claims. Cranberry v. Greer, 481 US 129,134-35(1987)
Rico-18USC 1962(a)(d).Coliusive Joinder- The joinder of a defendant, commonly a
Non-resident, for purpose of removal to or conferring jurisdiction on a federal court.
Bentley v. Halliburton 174 F. 2d. 788, 791. See Restatement (second) of judgments,
Introductory Note to ch. 2, at 8-17(Tent.Draft No.5, 1978) using the term "territorial
Jurisdiction;" to refer to personal jurisdiction; Clermont, Restating Territorial Jurisdiction
And venue for state and Federal Courts, 66 Cornell L. Rev. 411 (1981); Hazard, A
General Theory of state court jurisdiction, 1965 Sup. Ct. Rev. 241; Note, Filling the void;
Judicial power and jurisdictional attacks on judgments, 87 Yale L.J. 164 n.1 (1977)
66 Yale L.J. 526 (1957).



                                   Jurisdiction and Venue


 The petitioner, Willie C. Walker, seeks redress for violations of his Federal Civil Rights
Under 42 usc 1983 and the 1.4,5,6,14, amendments of the U.S. Constitution, Article 1
Of the Constitution, sec. 9, Constitution of the state of Georgia Preamble Article 1 Bill
Of Rights, Section 1 Right of persons, paragraph 15, and to his civil rights under state
Law as set out below. This court has subject matter of jurisdiction; under 28-usc1331
(federal question) jurisdiction; under 28usc 1343(civil rights jurisdiction); 28usc2201 (a) and
2202(declaratory relief); and 28usc1367(supplemental jurisdiction over state law claims.
18usc 1965(a). This court has personal jurisdiction over all parties. Venue is proper in this
District pursuant to 28usc 1391(b). All events set out below occurred within the District of
Georgia and all parties are residents of the District of Georgia. In custody in violation of the
          Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 3 of 76




Constitution or laws or treaties of the United States 28 usc 2241 (c)(3). See 28usc2244
(d)(1)(B). Joinder indispensable party absence from the lawsuit of a person who was in-
Dispensable itself deprived the court of the power to adjudicate as between the parties
Already joined. See Samuel Goldwyn, Inc. v. United Artists Corp. 113 F. 2d. 703,707
(3d Cir. 1940); McArthur v. Rosenbaum Co. of pittsburgh, 180 F.2d. 617, 621 (3d cir 1949);
157 F.2d. 216(5th Cir. 1946}. Cert. denied. 329 US. 782.
   Standing : Whether a Rico plaintiff has the necessary standing to sue maybe appropriate
For resolution under FRCP Rule 12 or 56.
    Proximate cause: whether a claimed injury is sufficiently related to the claimed Rico violation
May be appropriate for resolution under FRCP Rule 12 or 56.916 F.2d. 874(3d cir 1990)
877 F.2d. 1333, 1334(7th Cir. 1989}.




Federal Habeas Relief OCGA 9-14-1 {c}.
Glenn v. Roundtree, 410 US. 484,489-92 (1973). The exhaustion doctrine of 2241 (c}(3) was
Judicially crafted on federalism grounds to protect the }OCGA 9-14-1 (a). The likelihood that
The requested judicial relief will redress the injury. Lujan v. Defender of Wildlife 504 US 555,
560-61 (1992). Such supreme court should not dismiss case honig v. Doe 484 US 305,329
(1988). Private party to recover damages under rico statute.18USC1964(c).
Mootness Doctrine- Flast v. Cohen 392 US 83,94(1968).Whether a legal claim is justiciable
Is, in essence, asking whether it is a claim that may be resolve by the court. Nixon v. U.S. 506
U.S. 224,226(1993). See AT&T v. Federal Communication Commission. 349 F. 3d.692.Plaintiff
Repeat and reallege each and every allegation of the foregoing paragraphs as if fully set forth
herein, and specifically repeat and reallege the allegations under the first Cause of Action
Concerning Rico liability.



                                         Cause of Action


1. Writ of Habeas Corpus- The writ of habeas corpus shall not be suspended unless, in case
           Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 4 of 76




Of rebellion or invasion, the public safety may require it.
2. Res Judicata- A broad doctrine in civil litigation that requires and includes the barring of
Relitigation of settled matter under merger, bar, collateral estoppel, and direct estoppel.
3. Mootness Doctrine- Deprived of practical significance made abstract or purely academic.
4. Title 15, O.C.G.A. 15-6-21. Time for deciding motions, filing and notification; noncompliance
As ground for impeachment.
5. Corruption of Blood- The effect of an attainder which bars a person from inheriting, retaining,
Or transmitting any estate, rank, or title, (no attainder of treason shall work corruption of blood
- U.S. Constitution Art. III.
6. Joinder of Remedies- F.R.C.P. 18, 19(a). Pre-enforcement.
7. Collateral Attack on Subject Matter Jurisdiction: A Critique of the Restatement (second of
judgments).



                                              Conclusion


Both Restatements emphasize that subject matter jurisdiction is a prerequisite of a proper or
valid judgment. To the extent that a different treatment of subject matter jurisdiction is desirable,
Narrow exceptions to the general rule of res judicata can be drawn. Exceptions to the
application of res judicata may involve either intrinsic judicial branch policies or extrinsic
Policies implicating the powers or policies of other branches of government or the consti-
Tution. Intrinsic judicial policies, involving balancing the goals of Finality and Validity, have been
resolved largely in favor of Finality where there is adequate opportunity for appellate review.
This resolution is generally appropriate for the specific issue of subject matter jurisdiction.
Extrinsic policies, exemplified by Kalb and Fidelity, are rare. The general rule is that courts
should treat subject matter jurisdiction according to general principles of res judicata; this
General rule and the very limited exceptions should be more clearly articulated in the
Restatement(second) of judgments


                                     Prayer for Relief




 Therefore, Plaintiff, Petitioner demands judgment and relief as follows:
A. A declaration that the defendants, respondents have violated the rights of the plaintiff,
Petitioner under the 1,4,5.13, 14, amendments to the U.S. Constitution, Article I section
9, and Article I, section I, paragraph XV of the Constitution of the State of Georgia.
B. A mandatory injunction prohibiting defendants from further violating the same rights
Of the plaintiff or similarly person;.


                                                   4-.
           Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 5 of 76




C. An award of compensatory damages against all defendants;.
D. An award of punitive damages against all defendants;
E. An award of treble damages ~gainst all defendants;
F. An award of attorney fees and cost of suit pursuant to 42usc1988 and the Federal
Rules of Civil Procedure 54,68,71; and;
G. Such other relief as the court may deem proper.



  I certify that all statements and attachments provided to Rico as part of this complaint
Are true and correct to the best of my knowledge.



WILLIE C. WALKER,pro se
1236 Boat Rock Rd. SW
Atlanta, Georgia 30331
678-613-8112
williew1236@gmail.com                                         Willie C. Walker,pro,se


        8'-/6-JQ
Dated----------------------1-------------




                                                5.
            Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 6 of 76




                                          Certificate of Service




 I Willie C. Walker, do hereby certify that I have served the ongoing pleadings of the proceeding
Being a Rico Complaint, Notice of Filing, Motion For Joinder of Remedies, Brief in Support of
Motion for Joinder of Remedies, Affidavit, as Portions of the record as Exhibits in the Superior
Court of Fulton County and the U.S. District Court for the Northern District of Georgia, Atlanta
Division:Upon the following by U.S. Mail.


    1. Solicitor Gen. Office- Fulton County, State of Georgia.
          160 Pryor St. Suite J-301
          Atlanta, Georgia 30303
     2. DBHDD, Georgia Attorney General Office
          40 Capital Square, SW
           Atlanta, Georgia 30334
     3.    Attorney General of the United States
           Office of the Attorney General
           U.S. Department of Justice
           950 Pennsylvania Avenue, N.W.
           Washington, D.C. 20530-0001




Re: Willie C. Walker pro se
1236 Boat Rock Rd. sw



                                                                   /~L~_ _
Atlanta, Georgia 30331
678-613-8112
williew1236@gmail.com
                                                               Willie C. Walker, pro se
       8-fh-lc;
Dated--------------------------------------
        Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 7 of 76




               IN THE SUPERIOR COURT OF               ~l.A.t 1-01"'.      COUNTY
                                      STATE OF GEORGIA                                 .~   .",




Petitioner~   Pro se

        v.                                                     Case No:

                                                               Judge:



                                              ORDER

   Having read and considered Petitioner's Pro Se Motion To Proceed In Forma Pauperis and

Affidavit (If Indi!!ency, the Court finds Petitioner is indigent and

        IT IS HEREBY ORDERED Petitioner be allowed to proceed in forma pauperis in the

above-reft:renced case.

   SO ORDERED, this the cl3 (f'j day of ~Jtst                ,20~.




                                               .                ;).J
                                       JUDG:t\ UPERIOR COURT OFf." \ +'01\    COUNTY




Petitioner, Pro Se
             Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 8 of 76




              IN THE SUPERlOR COURT OF FULTON COUNTY, GEORGIA
                                 136 PRYOR STREET, ROOM C-l03, ATLANTA, GEORGIA 30303
                                                                     SUMMONS
 ;-c   U)I)) " e                  c. u./aJ kc.r                                      lCase
                                                                                     1NO.:_ _ _!-,-,...;.\. ...;;.::..:;.;.·._C_:_·~::..
                                                                                                                                         __.-_ ..
                                                                                                                                    .. _ _-:'..:.'_---":~"--_ _
                                                                                     )
                                                                                     )
                                   Plaintiff,                                        )
                                                                                     )
                                                                                     }
                                                                                     )
                                                                                     )
                                                                                     )
                                                                                     }
                                                                                     )
                                 Defendant



TO THE ABOVE NAMED DEFEN'DANT(S):

You are hereby summoned and required to file with the Clerk of said Court and serve upon plaintiffs
attorney, whose name and address is:
 LL) ~ \ l:       c: C.               LI)c;J ke Ij                   (Jro        j   t:.
 f"03 b             3(?Q+ (leck.                         jkL,         '5.0·
 (L1+I.         J.61CL-.;; 033 \
An answer to the complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of service; unless proof of service ofthis complaint is not filed
within five (5) days of such service. Then time to answer shall not commence until such proof of service
has been filed. IF YOU FAIL TO DO SO, JUDGMENT BY DEFAULT WILL BE TAKEN AGAINST YOU FOR THE
RELIEF DEMANDED IN THE COMPLAINT.



                                                                                     Honorable Cathelene "Tina" Robinson
                                                                                     Clerk of Superior Court
                                                                                     By______~---~~---___
                                                                                                                 Deputy Clerk


To defendant upon whom this petition is served:
                                                                                     ________________                             ~,20      _____
This copy of complaint and summons was served upon you


                                                                                                                 Depu ty Sherri ff

lostruclioos: Anaen addendum sheet for additional parties if needed, make notation on tlIls sl1eellf addendum is used
             Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 9 of 76

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                                                                                                           ...-.--
..                                                                                                    ~-




                          IN THE SUPERIOR COURT OF FULTON CO
                                     STATE OF GEORGIA

     WILLIE WALKER,                                 )
                                                    )
            Petitioner,                             ) Civil Action No.  i-l- c... D , 0.3
                                                    )
     v.                                             ) PRESIDING JUDGE
                                                    )
     STATE OF GEORGIA,                              )
     BOAT HOUSE INC. CIH,                           )
                                                    )
            Respondents.
                                                 ORDER

            This matter is before the Court on Petitioner Willie Walker's application to proceed in

     forma pauperis in a Petition for a Writ of Habeas Corpus against the Respondents, Petitioner

     alleges ineffective assistance of counsel, amongst other Constitutional violations during the

     pretrial and competency determination process. Petitioner is currently housed in Boat House

     Inc., a Community Integration Home, which is located in Fulton County.          Jurisdiction is

     therefore proper. O,C.O.A. § 9-14-43. Accordingly, this Court hereby GRANTS Petitioner's

     request to proceed in forma pauperis in a Petition for Writ of Habeas Corpus, and DIRECTS the

     CLERK to file the Petition.

            SO ORDERED this          ;}&:
                                   ...      day of July, 2




                                                         PRESIDING JUDGE
                                                         Superior Court of Fulton County
     Copies to:                                          Atlanta Judicial Circuit
     Willie C. Walker
     GDC No. 1027879
     1236 Boat Rock Rd. SW
     Atlanta, GA 30331
            Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 10 of 76




MEMORANDUM
To:       Judge Downs
From:     Allison Candler
Date;     July 19,2018
Re:       Prisoner/Pro Se Filings
          RECOMMENDA nONS

{::ase:                 Willie Walker v. State of Georgia, Boat House Inc. CIH

Summary of Issue(s);    Whether Petitioner may file a Habeas action against the Respondent.

Applicable Law:                                          Habeas Corpus
                        (n a petition for habeas corpus, venue is proper in the Superior Court of the County
                        where the Petitioner is housed. O.C.G.A. § 9-14-43; Smitll v. Garner, 236 Ga. 81,
                        222 S.E.2d 351 (1976).

                        Under O.C.G.A. § 9-14-42(c), habeas actions in the case of a felony must be
                        brought within four years from: the judgment of conviction becoming final by the
                        conclusion of direct review or the expiration of the time for seeking such review; the
                        date on which an impediment to filing a petition which was created by state action in
                        violation of the Constitution; the date on which the right asserted was initially
                        recognized by the Supreme Court of the United States or the Supreme Court of
                        Georgia; or the date on which the facts supporting the claims presented could have
                        been discovered through the exercise of due diligence.

Analysis                Here, Petitioner has filed a Writ of Habeas Corpus alleging violations of his First,
                        Eighth, and Fourteenth Amendment rights during the pretrial and plea process. This
                        is a bit of an unusual case in that Petitioner is currently being held at Boat House
                        Inc., a "community Integrated Home," where he was involuntarily committed by
                        Order of Judge Campbell entered on November 7, 2017 (attached to Petition). The
                        language of the Habeas statute states that "(a]ny person restrained of his liberty as a
                        result of a sentence imposed by any state court of record may seek a writ of habeas
                        corpus to inquire into the legality of the restraint" may sue out a Writ of Habeas
                        Corpus. O.C.G.A. § 9-14-1(c). Since Petitioner is involuntarily committed, this
                        would apply here. Thus, the filing of the Petition should be granted.

Recommendation:         GRANT the filing of the Petition to file Writ of Habeas Corpus.

Attached:               Order GRANTING the filing of the Petition to file a Writ of Habeas Corpus
                  Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 11 of 76
                                                             EJ14
                                                  CASE SIJMMARY
                                                  CASE No. HCOI031
 WILLIE WALKERVS.STA TE OF GEORGIA, THE                         §                    Location: EJ14
 BOA T ROCK C.I.H.                                              §             Judicial Officer: MARKLE, TODD
                                                                §                     Filed on: 08/02/2018
                                                                §

                                                      C\SE INFOR:\IATIO~


Statistical Closures                                                                 Case Type: HABEAS CORPUS INMATE
10/1712018      Dismissed
                                                                                          Case
                                                                                        Status: 10/17/2018 Closed



                                                      P,\RTY INt'OR:\tATION


PLAINTIFF                WALKER, WILLIE
                                                                                                                      Pro Se

DEFENDANT                STAT OF GEWORGIA, BOAT HOUSE INC. CIH
                                Removed: 08/02/2018
                                ENTERED IN ERROR

                         STATE OF GEORGIA, THE BOAT ROCK C.I.H.

     DATE                                     EH\TS & OnDERS OF TilE COt:RT                                   INDEX

   10118/2018      DISMISSAL (Judicial Officer: MARKLE, TODD)

   10117/2018       rn   DISMISSAL ORDER
                        ORDER DlSivIlSSING CASE

  09/25/2018        ~ORDER
                        TO DISlvflSS IF PETITIONER HASNOT SERVED DEFENDANTS ON OR BEFORE 101151J81

  08/02/2018           '[;1 ORDER GRANTING FORMA PAUPERIS

  08/0212018           tTI AFFIDAVIT OF POVERTY
                        REQUEST TO PROCEED iN FORMA PAUPERiS

  08/02/2018           -rn PLAINTIFF'S ORIGINAL PETITION
                        APPLICATION FOR WRiT OF HABEAS CORPUS

     DATE                                                 Fl"A~CIAL l:"FOR;\lATION


                   PLAINTIFF WALKER. WILLIE
                   Total Charges                                                                                     265,00
                   Total Payments and Credits                                                                          0.00
                   Balance Due as of 12/18/2018                                                                      265.00




                                                            PAGE 1 OF 1                                    Printed on 12/18/2018 at 1:44 PM
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                                                     EJ7
                                        CASE SUMMARY
                                         CASE No. HCOI032
WILLIE WALKERVS.STATE OF GEORGIA,THE                   §                   Location: EJ7
BOAT ROCKC.I.H.,PAULHOWARD, Jr.                        §            Judicial Officer: DUNA WAY, ERIC
                                                       §                    Filed on: 08/23/201&
                                                       §

                                              CASE INFORMATIO;-;


                                                                           Case Type: HABEAS CORPUS INMATE

                                                                                Case
                                                                              Status: 08/2312018 Open


                                           PARTY l;>\fOK\lATION
                                                                                           Lead Attorneys
PLAINTIFF        WALKER, WILLIE C.
                                                                                                             Pro Se

DEFENDANT        HOWARD, PAUL L., Jr.
                 STATE OF GEORGIA

                 THE BOAT ROCK C.1.H.                                                  CARR, CHRISTOPHER M.
                                                                                                         Re(ained
                                                                                                 404-656-3300(W)

   DATE                              [VE:-iTS & ORDERS Of THE COllRf                               I'iBEX


 12104/2018    '[j SHERIFF'S ENTRY OF SERVICE
                 CORPORATION SERr1CE OF THE BOAT ROCK CIH


 10/30/2018    ~ MOTION TO DISMISS
                 ''APPLICATION FOR WRIT OF HABEAS CORPUS"

 10/26/2018    m  SHERIFF'S ENTRY OF SERVICE
                 CORPORATION SERVICE OF DISTRICT A TTORNEY OFFICE

 10/22/2018    tJRESPONSE
                 IN OPPOSITION TO APPLICATION FOR HABEAUS CORPUS - GA DBHDD


 08/23/2018    ~ AFFIDAVIT OF POVERTY
                 REQUEST TO PROCEED IN FORlvIA PAUPERIS

 08/23/2018    'B ORDER GRANTING FORMA PAUPERIS
                APPLICATION FOR WRIT OF HABEAS CORPUS

 0812312018    tJ PLAINTIFF'S ORIGINAL PETITION
                 APPLICATION FOR WRIT OF HABEAS CORPUS


   Dxn:                                          FI'iANCIAL INfOlnIATIO~

               PLAINTIFF WALKER, WILLIE C.
               Total Charges                                                                                265.00
               Total Payments and Credits                                                                   265.00
               Balance Due as of 12118/2018                                                                   0.00




                                                  PAGE! OF 1                                    Printed on 12/1812018 al 1:45 Nv[
                Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 13 of 76




                                  IN THE SUPERIOR COURT OFrJ
                                                  STATE OF GEORGIA
                                                                  01\                                 l-+           C. 0 J r1 t lA\

        ,                                          'Petitioner
                  .-.7 "'\7°
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                        ~_-~l_____________ :
                                                       Inmate Number

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       " JlCl., J C:..-
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                                 C' . (";Je'uLq l Cft...
                                                              .    vs.
                                                                    ,                              Habeas Corpus
..--r--.
     11 reo        If).,.         ," C~ "...r: J' / ' ,7j __
                         Vo" - - - (~                      I Jlarden,t....;.
                    --"...:t£..L I ~ DC," v' ...,- I (J
   I
   t f ,"-..-                                                    I

                                                             Respondent
                  i)-illlTl1;    of Instirution \.,llere you are now located)


                                         \ APPLICATION FOR WR...Trr OF HABEAS CORPUS                                             I
                          P"~1{T I: BACKGRUDND INFORL"IATION ON YOUR CONVICTION

    1. 1\ame, county, and court ,"vblch entered the judgment of conviction under attack:.
                        '. f !     e ¥'V : c.> r-            'c i..! ~.p..J- r J)            It=;J f-f-o nCo v           /j   -I- L/
                             !

   2. Date of conviction:                           /'i/' T-:
                                                   f'f    Ll

          (please Note: D.G.CA. § 9-14-42(c) mandates that applications for writ of habeas corpus must
          be filed within a certain time. Please see Instructions (7) for more information.)
   3, Length of sentence(s): _-4I'-"V!-,·',.../.."il-'i'--_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                         1
   4. 'lv'ere yon sentenced on more than one count of an indictm~t. or on more than one indictment, in the
      same court and at the same time? 0 Yes                      l!2( No
   5. Name of offense(s). List all counts:
                                                    ii'      ,                 O·
                                                                              "Ii' I (J ..,/1     i ..J.,.'
                                               b.S -r j'" V c,..""l' I oY\ f L n \ \ U\ f /1 0 e) T~! ! 15'/\
                                                                                                                                       I -
            CGL5 e               (10,     I b S' C     <f3 6 CI                ! -   j! S c:... Cf Gt t     2..:t
   6, Vilhat was your plea? Please check one:
            o           Guilty
            o           GuiltY bL.'t mentally ill
            u;:y' Nolo contendere
            o     Not guilty
            If you entered a ~il~ plea to ?ne co~t or ~l'l,dictm~t, and a not,gui1~ or no19 c9nt~dere plea to
            another count or mdictment, gIve details: fi-rtiJi' b';. {( eo..;-.d - t-'! c::c.::...- ccA - "11 e vI1- L. (
                                                                                             Lot
              . ..,.-                          I
             -"- n C. <:) {\II ,p a..-+e! \.C!.u (' IY\                        bo+h
   7        Kind of triaL Please check Jne:
            o    Jurv
             Q/'Judge only
   8. Did you testify at the trial?                              DYes

   Administrative Offic:e of the Cour..s (Rellised 9-10-14)                            [11                                                   Form HC-l
              Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 14 of 76




9. Did you appeal from the conviction?                               DYes
10. If you did appeal, answer the following:
    Name of appellate court to which you appealed:                                     _.....t-N4 !.t-H.:.-·\_ _ _ _ _ _ _ _ _ _ _ _ _ __
     Result of appeal: _...!.I-",V'-fl---<!,'-'4"--_____
                        /\// A
     Date of result: ---~i~/~,~-------
11. Other than a direct appeal from the judgment of conviction and sentence, have you previously filed
    any petitions, applications, or motions with respect to this conviction in any state or federal court?
            ~es                       0 No
12. If your answer to 11 was "Yes," give the following information: (Note: lfmore than three petitions,
    please use a separate sheet of paper and use the same format to list them.)
     A. Name of court and case number:                       <j. St,              D1sk'?;J C,JUrl A!c.flfhe'. . ij Qi'5t-. c{ beL,
                                                                                 v- 17 4 - C(1 e
          What kind of case or action was this? {-fl.;'! ~eG-~'i {;'TL..I005 - 1: I \'. C
          All grounds raise~ (attach extra sheet of paper ifneceSSa~): 5tc.~.dtf '--,-;'"',' ~ I ~(1cl..
          dO,) b \e ::J to y(JCLIf"Ji 1 '
           Did a judge hear the case?                  0 Yes GarNo                           Did wi1;nesses testifY? 0 Yes              ua-No
          Name ofJudge:                    C· bCLrv Ii";:'       R Po-. n V\ e..1 t
                                                                      I                                  )f/    I


          Result:     I       ",,6   c).                         c.       a;l1cL            -+-h e SC'1"'V')e        r   e'-C   bl - '> c/~V\J d! 511'1 1~5cJ
          Date of Result:                  (V1 CUi f ~"b1/ '2 G i \ .
     B. As to any second petition, application or motion, give the same informationrr                                           13 C v" tf f, 7                     q 'L
          Name of court and case number:
                                                             -
                                                                 B   QL 1
                                                                          .
                                                                                  dWI' n COL,l n+14(                50 IKJCr'i'OJ" {>r;ftf'
          What kind of case or action was this? -,H,--,-"o..,.:;.;::;.;,b:...:c:=-a,~s,---,C""",---",v",,-'I'-N-FiO:..;V;;...·,..:;:.5"--_ _ _ _ _. - -_ _ __
          All grounds raised (attach extra sheet                     ofpaperifn~cessary) ~ CO, ICL n-:ra...                               I f.~ tcJ}.:JfC: I J
               /
            0(2..)
                          .
                          hI e. ..)popQ;'1...d               it '                                                                                               I




          Did a judge hear the case?                   ?v~s           0           No         Did witnesses testify?        0   Yes      u;r~
          Name of Judg~:                   Ire (') ~(1))          r;;         j   c     v:;tI£    -,eve
                                                                                                   ~J '6(;()
          Result:         (7/~ml',jS?a                    J /)   t+:5                    eO +r,re+L1
        Date of Result: ......)CLtI va/fl.!                  E, j lift- ?_D I Y                                                    __      .."?          ._


     C. As to any third petition, application or motion, give the same information.                                         -rr ~ 14 ,2) l.)? 7
                                                                 o                                                        r      c
          Name of court and case number: . JL)j'o i-em                                       e (' r ;/11/- t:
                                                                                                   0 ·
                                                                                                                         u / ('.ler...f'2¢11 (",-
          What kind of case or action was this?                           d i "'~e e+
                                                                   f>~.)C"(-l ( G                C;s.
          All grounds raised (attach extra s~eet of paper ifnecessa~;: n'j cc+.,\C::, '75 ,0c-Q. h . . i/\ c:. /
           <:::a()(VI       {71~c+cC:...+iu~') ~ C(:rn.sJ.-/+v--i\·~\Cl_{                CO-,:;.e.."
                v



Administrative Office of the Courts (Revised 9-10-14)                                 (21                                                          Form HC-l
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           Did a judge hear the case?                       0   Yes        un;:       Did witnesses testify? 0 Yes              ~
           Name ofJudge:                  r~ lL ) 0;' ·h c.c...5                         C en C 0 r,
           Result:              () i:z 0/\;' 55e d
           Date of Result:               .J v () e- {b!'2- 0 / 4-
     D. Did you appeal to the Georgia Supreme Court or the Georgia Court of Appeals from the result
           taken on any petition, application. or motion listed above?
           First petition, application or motion:                                             0 Yes               ~o
           Second petition, application or motion:                                            ~ es                0        No
           Third petition, application or motion:                                             GY'Y-es              0 No
      E. If you did not appeal from the denial of relief on any petition, application or motion, explain
           briefly why you did not: --/.A...!;·jr::-·I-J.l...a~
                                               .,               _ _ _ _ _ _ _ _ _ _ _ _ _~_ _ _ _ _



    F. If you appealed to the highest state court having jurisdiction, did you file a petition for certiorari
       in the United States Supreme Court to review the denial of your petition J»r-the Georgia Supreme
       Court or the Georgia Court of Appeals?                 0 Yes              ~ No
13. Do you have any petition or appeal njDllo' pending in any court, either state or federal, as to the
    conviction under attack?         G3"Yes           0 No
14. Give the name and address, if known, of each attorney who represented you in the following stages of
      the judgment attacked herein:                                        ~

      At preliminary hearing:                        .5(I . rYl[r IJ           01 J iJ e, e- r1 .
         A-t l.               ~l..r-, ,!) o~         ') .       i   I '"              ,   I             I




      At arraignment and plea: 4:---5-...=...-=--..!-,;:..........,L------------------




                                                 ±-4-_____________________
      On appeal: _-i.(\J.....;.:::.,·..f./-.-:..-I


      In any post-conviction proceeding: ~',-/!\...t=-'..J./~v4-...!-_________________


      On appeal from any adverse ruling in a post-conviction proceedin(                                          ,or   Q   5e
                                                                                                            '-
15. Do you have any other sentence, either state or federal, to serve afteJ...¥Ou complete the sentence
    imposed by the conviction under attack?           0 Yes            51' No


Administrative Office ofthe Courts (Revised 9-10-14)                            [31                                                 Form He·l
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      If so, give the name and location of the court(s) which impose any other sentence:
         /\.1, I/ ;4

     State the date and length of any other sentence to be served: _~N_tf-I-,!+,--
                                                                                 ___------
     Have you filed, or do you contemplate filing, any petition attacking the judgment(s) which imposed
     any other sentence?             0 Yes             ~




AdmInistrative Office of the Courts (Revised 9-10-14)   [4J                                      Form HC-l
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                                    PART II: STATEMENT OF YOUR CLAIMS
State concisely every ground on which you now claim that you are being held unlawfully. Summarize
briefly the facts supporting each ground. If necessary. you may attach pages stating additional grounds
and facts supporting the same.
                                                                            t
GROUNTI ONE:             ()en ,'tv 1 6~ e/lec.+1 >'C Ql$5~ S+0£l(\e;.
                         ~                               )       If.)
                                                                                                        c,{      Cc/\jy1   sci,




                                                                           2.




SUPPORTING FACTS. (Tell your story hriefly without citing cases or law): _ _ _ _ _ _ _ __
  -Ti'le...        0         o {I, +iJAI          t4     ~o        C\""c).--e 0.-1'11/,"<:::'   o-dv r. . CC




                                                             I                   ~..l-
                                                         TO       0.....        CC,O'."-   I
                                      (    .
                                     /-', 0-1 f        ~l 6;tA.: I {) ci
                                    c

                                                                  I        4.,       .
GROUND FOUR:                 (Vi C offl e <)5                    c~ 0(1'+1-,             (\ e


Administrative Office of the Courts (Revised 9-10-14)                      [5]                                 Form HC-l
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Administrative Office of the Courts (Revised 9-10-14)   [6J
                                                                                 Form HC-l
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        PART III: OTHER CLAIMS NOT PRESENTED TO A COURT BEFORE THIS
If any of the grounds listed in PART IT were not previously presented in any other court, state or federal,
 state briefly what grounds were not so presented, and give your reasons for not presenting them:




Wherefore, petitioner prays that the Court grant relief to which the petitioner may be entitled in this
proceeding.
                                                           .      I     .         /1       / ,/
                                                          (JI[Je L jJ;~                                     I      n-IQ'- /8
                                                       I "7G- J       6         r:z
                                                                                VOO'-T
                                                                                       I   11LoC.,L'ti Kc/J I ,5' ,[ Date   I


                                                   (},t IO-i'\ +-~L I CJ,e 'It; lC~ "3 ce.? (
                                                        Signature and Address of Petitioner's
                                                        Attorney (if any attorney)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing statements made in this
Application for Writ of Habeas Corpus are true and correct.

Executed on
                      Date



                                                                      Signature of Petitioner
Swom.to and subscribed before me this .
--'--':-'- day of -:;-:-:.:~ ~ ~ , 20 ,/:::.
                                                                                MY COMMISSION EXP'~~S
Notary Public or Other PerSon Authorized to Admtnister Oaths
                                                                                   OCTOBER 17, 20£.
Please note that under O.C.G.A. §9-14-45 service of a petition of habeas corpus shall be
made upon the person having custody of the petitioner. If you are being detained under
the custody of the Georgia Department of Corrections, an addItional copy of the petition
must be served on the Attorney General of Georgia. If you are being detained under the
custody of some authority other than the Georgia Department of Corrections, an additional
copy of the petition must be served upon the district attorney of the county in which the
petition is filed. Service upon the Attorney General or the district attorney may be had by
mailing a copy of the petition and a proper certificate of service.


Administrative OffIce ofthe Courts (Revised 9-10-14)                      [7j                                                   Form He-l
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                                                                                                  .. C:;...).,.;;;.V_'r1~-r_L-f/
                                                               STATE OF GEORGIA


 i i ' lI ( . ,-;::? (1'
 ; J i
 LV' i! I (...... ,-,,'

                                                                                                                                               ~l
                                                           Plaintiff
                                                                                              Civil Action No.                                          to) 0372-
                                                Inmate Number

                                                                                              Nature of Action: ;' j i    _
                                                                                                                , TCLOFcL ')




                              1 REQlJEST TO PROCJj:;EDIN FOR.!.vIA PAD-PERlS


                        c,                c\

                                    LJ {~ { \:t\.e (../
                                               . depose and say that I am the plaintiff in the above entitled
case; that in support of my request to proceed without being required to prepay fees, costs, or give
securiry therefore, I state that because of my poverty I am unable to pay the costs of said proceeding or to
give security therefore; that I believe I a..-n entitled ro redress.
I further swear that the responses which I have made to questiollS and instni.ctions beiow are true.

                                                              11./,·                                   /1              ('"
1.       List any and all aliases by which you are known: ---""U""'
                                                                ....)--'';...1;...';...1,--=:G:::.-_""L",-'_'_-->k.:.;':":::;..'1",,'c..;::0:;..;.-i.....
                                                                                                                                                    K':...{..:,"::..;.;"--"
                                                                                                                                                                     ___


         Are you presently employed?                                    DYes
                       If the answer is '"( es," state the amount of your salary' or wages per month. and !!ive the
                                                                                 ~                        ~
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                                                                                                    ern./'!'        ,
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                                   'dre      f                     /I I / ")                       ',I
                       name and aa S50 your employer:             IV:: ( r r !     1,/ 1/ \/ ". i'       11 ['Ie( ./
                                                     /'"'                      J"                   I         " j ...... ,                     J            ~:o                f){...'       /
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                                                                                                                                                          '--""'" .... '- ..
                                                                                                                            J
                      If the answer is "No," state the date ofiast employment and the amount of the                                                                                s~lary    and
                      wages per month which you received:                                     1\\lf     1'0
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                                                                                                                                - -                 I                          /
                        ee.l~w          b O'...v-,-" t
j.       Have you received within the past twelve months any money from any of the following sources?
                       Business, profession, or faun of se1f-employment?                                                    0 Yes                               ~~
                       Pensions, annuities, or life insurance payments?                                                     DYes
                       Rent payments, interest or dividends?                                                                DYes


Admini=/ve omce of the Courts (RevIsed 9-10-14)                                                1'
                                                                                              [-1
                                                                                                                                                                                         form CA·2
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                      Gifts or inheritances?                                                                                                                     DYes                                        ~
                      Any other sources?                                                                                                                         Ii':VYes                                    o No
                      rfthe answer to any of me above is "Yes," describe each source of money and state the
                                                                                                                                                                                                      /","             .         ~

                      amount received from each source dlli""ing the past twelve months: . )oc:. ! cJ(                                                                                                                                    jet.:,; ,r! -+ '1
                          ;F~..t_                { ..        ~~
                         l.) i 7t.·U7~ liT LI                                   CA"d~,S \.
                                                                                        +              /'




4.         Do you own any cash, or do you have money in a checking or savings aCCOlll,t? (Inc1ude any
           funds in prison accouDtS):                                                            ~<s                                         0 No
                                                                                                                                                                                              t:'
                      If the answer is «Yes," state the total value of the items owned:                                                                                                     /J Z;, 3 0 ~
5.         Do you 0\';11 any real estate, stocks, bonds, notes, automobiles, or other valuable property
           (excluding ordinary household furnishings and clothing)?                                                                                               0        Yes                               ~
                      If the answer is "Yes," describe the property and state its approximatevalue:
                           !                                   .k                                           ,1               "1                              .           -L-        0                     i·                                  ,                           .
                      ~L=U:;.:'C~L~r-~(~~V:::.::~l,,~·,",;..!'I.!.1~1,..f..'_-lI...t..JI..a...:.ed!.:::::"'~'--_.!..('~'.l=:.4'~.=:!...f'l.:..:C:::::_'~(e~·:...\V~I_l!::::...k://}c:..,·.l.<f'::.,.T:....;,.I-.-:..,:...,Il--="G:::..-,.."../::::C:.....;"L;'.i!l;t:.:.;:.?eL t i_fL._
                                 !



                                                                      l


6.         List the persons who are depeo.dant upon you for fina."1cial support, state your relationship to
           those persons, and inilicate how you contribute toward their support;                                                                                                                  ,   IV/ /+



I l..rnderstand that a false statement or answer to any question in '[}lJs affidavit Vvill subject me to penalties
, for perjury and that state 1aw pTovides as follows:
           a.         A person to whom a lawful oath 01' a..4:'innation ha'l been administered commits the
                      offense of perjury when" in a judicial proceeding, he imo"Wingly and willfully makes a
                      false statement material to the issue on point l., questior:

           b.         A person convicted of the offense of perjury shall be punished by a fine of Dot more than
                      S1. ,000 or by imprisonment for not less than one nor more than ten years, or both.
                      O.G.C.A. § i~io-70.
                                                                                                                                                                                                                         I'                                .--.
                                                                                                                                                                                                                     h -Iq-lb
                                                                                                                                                                                                                     Date




 Administrative Office of the CourLS (Revised 9-10-14)                                                                            [2i                                                                                                      formCA-i
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           .'
                                                                 VERlFICATION

  1.,   {J:: (IJ' e....    C" Lvoj lG~     II'"       , do swear and affirm under penalty of law that the
  statements contained in this affidavit are true. I further attest that this application for in fanna pauperis
  status is not presented to harass or to cause w"lIlecessary delay or needless increase in the costs of
  litigation.

 I am the plaintiff in this action and know the content of the above Request to Proceed in Forma Pauperis.
 f verify that the answers I have given are true of my own knowledge, except as to those matters that are
 stated in it on my information and belief, and as to those matters J believe them to be tnle. I have read the
 iJerjury statute set oUt above and am aware ofthe penalties for giving any false information on this form.

                                                                 ,/
                                                                         ..
                                                           ...         /J'.~',   e:" .,'
                                                                      ,,_It<      :

                                                         .' Signatur~ of Affiiiii.t Plaintiff                        Date


  Stvorn..to and subscrib.:d before me tiriE   .-.
  _'_<_:_. day of     - ::~:::/. ~i:   .20'/ '-~

                                                                                           MY COMM\SSlON E)(~~ES
. 'NO(~ry' Public or Other Person Authorized to Administer Oaths
                                                                                              OCTOBER 17t 20...2..
          Please note that under O.G.C.A. § 42-12-5 service of an affidavit in forma
          pauperis, including all attachmeuts,shall be made upon the court and all named
          defendants. Failure by the prisoner to comply \vfth tbis code section shall result in
          diSmissal without prejudice of theprlsoner's action.




   Administrative Omce of the Courts [Revised 9-10-141                                      [3}                             Form CA-2
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  TIDS FORM IS TO BE COMPLETED ONLY BY AN AUTHORIZED INDIVIDnU AT THE
  INSTITuTION WHERE T:tm INMATE- PLAINTIFF is PRE8ENTLYJNCARCER4.TED, OR
                                                              HISIHER DESIGNEE..



                                                   CERTIFTCATION
                                                            .: j ~/' I'                        /J ,/ /' f
            I hereby certify that the Plaintiff herein, .J.:tt~/~/J,,,.;.I'-!il_e.:::::.....:>(~/c...2..,~Lcu~~~...!-:....J-<...::.::::e::....:..tl!.-"'
                                                                                                                                                    ____,
has an average monthly balance for the last twelve (12) months of$ _______~__ on account at
dw _______________________________________________________________

____________________ iustimtion where con..fined.. (If not confln.ed for a fun
nvelve (12) months, specify the number of months confined. Then compute the average monthly balance
ou that n1.l1"11ber of mouths.)
            I fu,."1:ner certify that Plaintifflilcevvise has the following securities according to the records of said
institution:




                                                                                                                                       . .- .
                                                                                                                        ? ", -/q.. -' I, 7',      .,. ,
                                                                                                                                                 '-"
                                                 Authorized Officer of Institution                                      Date




           NOTE: Please attach a copy ofthe prisoner's inmate account of the last 12
           months, or the period of iilcarceration (whichever is less).




,-,:dministn:n'ls OffiCi! oi't1!! Courts (Revised 9-10-1/l)
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                                    Community Home Fee Statement
                            for State-operated Adult MH and MHIAD Homes
     Resident's Name     WillIe Walker                                   Name of Home               Boat Rock Si C.l.H.
2    Date Completed     -----------------------------
                        1::~=eb=ru=a=rv=2=6!:;2=Q1=8'___ _ _ _ _ _ _ Operated by (hospital)         GRH/A

3    Maximum Monthly Room & Board rate:                                                       780   !
4.   Sources of income and amounts:
                    a Social Security
                       b S81                                             $                    750
                       c VA
                       d Other PensioniRetirement
                    e Employment Pay                                     S                      -
                     f Other
5    Total amount of individual's monthly income                         $                    750

6    Monthly Deductions (round up to nearest $)



                                                        R
                    a PeroonafSpeniflng                           91
                   b Savings Allowance"                   $   .   150
                    c Transportation                      $         -,
                    d MedicallOther Therapeutic           S       134'
                    e EducationalNocationa/""             $
                     f TOTAL                              $       375

7    Income - Allowable Deductions
a    Final R&B Rate

     Residua! Funds
9
10   WOS Co-Pay %**"
                                   1:$           25.0%\
11   WOS Co.Pay
12   R&B + WOS Co-Pay Total

                                                                                                    (For rate increases. third full momh
13   Effective from MonthlYear:                                              Feb-18                        after notiCe is given)


14   Staff Signature


15   Supervisor'S Signature


16   Resident/Guardian Signature:

'Complete and attach Savings Allowance Worksheet.
""Maximum 5600 annually.
-See SffcIing Fee Scale for WOS

When completed, send a copy to your FACILITY BILUNG OFFICE and fax a copy to DMHDDAD Office of Forensic
Services at 404-657-2256. Call Office of Forensics at 404-657-2270 for technical assistance with this form.
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                               Community Home Fee Statement
                       for State-operated Adult MH and MHIAD Homes
                                         Savings Allowance Worksheet
Line
1   Resic!ent's Name   .=VVi:=!II=lie:=":flJa!::lk:o;fl:.[_ _ _ _ _ _ _ _ _ _ Name oi Home          Boat Rock St C.LH.

2   Date Completed     2126/2018                  Operated by (hospital) GRH/A
3
                       ====~---------------------
       Describe the rationale for a savings allowance over the allowed minimum:
                                                                                                   -----------------




                                                                                                                           I
                                                                                                                         """'
4      Savings Goal: Cash resources needed to move                        I$             1,800     I
       to a less restrictive alternative (max = $1,800)


v      Cummt Savings: Funds resident currently has in
       savings
                                                                          t$                   -I
6      Amount resident can save via Savings Allowance                     I, S           1,800     I
       during residence at Community Home


7      Estimated number of months until individual will                                      121
       be able to move to a less restrictive alternative


8      Monthly S1ivings allowance (enter on line 6b of                    Is                 150   I
       Community Home Fee Statement)


9      Effective MonthfYear:                                                       21112018


10 Staff Signature:

11 Supervisors Signature

12 Resident/Guardian Signature:

-When completed, send a copy to your FACILlTY BILLING OFFICE and fax a copy to DMHDDAD Office of
                       Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 26 of 76
                                                                                  Willie Walker
                                                                                  Avatar;; l57105
                                                                                  Admission Date: 11/09/2017
                                                                                  B/M 04/08/1952
                                                                                  CIH OF GRH/ Atlanta
                                                                                  Date of Birth Al"'-ID/ORsOciilsecunty--:NUffioer

                                AGTHORIZAnON FOR RELEASE OF Il'I""FORl'\tlAnON - STAl."t"DARD REQUEST

 i hereby authorize the disclosure of recordsiinformation

  From: _ _ _-:.:,                                       \~

  To:
                            (Name of Person or Agency to whom inform
                            (.".ddress)                                                         (phone/Fa:<)




               I authorize the disclosure of alcohol or drug abuse infonnation, jf any. (please see pa.ra."araph 2 below). If I am a minor,
               my paremfguardianlcourt-ordered custodian and I BOTH must initial here in order for this iDfonnation to be released.



 Initials      r authorize the disclosure of infonnation, if any, concerning tesring for HIV (human immunodeficiency virus) andio,
               treatment for Hf'i,r or AIDS (acquired immune deficiency syndrome) and any related conditions,
The above disclosure ofinfunnation is for the purpose of: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



               I understand that the Information disclosed pursuantto this Authorization may be subject to re-discJosureby the recipient and
               no longer protected by federai privacy regulations or other applicable state or federal laws (except as set forth in paragraph 2
               below).
        2,     I understand that, pursuant to 42 C.FR Part 2, alcohol and drug abuse records that I au'.horize to be disclosed pursuantto
               this document may not be further re-discJosed without my written consent, except by a court order that complies with the
               preconditions set forth at 42 C.F.R. 2.61 et seq., or the other limited circumstances specif1cally permitted by 42 C.F.R. Part 2.
               Any individual tiat makes such a disclosure In violation of these provisions may be reported to the United States Attomey
               and be subject to criminal penalties.
        3.     I understand that the Department or my hae/theare providerwiTf not condition my treatment, payment, or eligibility for any
               applicable benefits on wneti1er Jprovide authorization for the requested release of information.
        4,     / intend this document to be a valid authorization conforming to a/l requ;rements of the Privacy Rule and State la':I, end
               unders)afid that my authorization w/71 remain in effect for: (PLEASE CHECK ONE)
                   ~ne (l) year OR         0   the period necessary to complete all transactions on matters related to services provided to   me.
             I zmd,ersrand that unless otherwise limited by state or foderal regulation. and ex:cepl to the ex:tenr that action has been
             ,to       ed upplfic.. 1 my} j~e this authomation at allY time ~s s.!fo.WlI in the space be~(]l1l1        '
    /i.&               I'   ,(cJ J~~vJ                                             {kY{-' j ;'~      C . .1/&L J kell-               h -'              0.
                                                                                                                                                    - / 0
  Signature ofIud viduallCollSume'riP!lticutlAppJicant                                      Print Name                                 Date


  OR Signature of other person autboril:ed to sign for Individual (cheek one);              Print Name                                 Date
  n Parent 0         Guardian    0    Court-o.ppointed Custodian afMinor
  o Agent designated by Indiyidual's ~dY:mce directive
                                          USE THIS SPACE ONLY IF AUTHORIZATION IS WITIIDRAWN
 I hereby revoke This authcrizatfon, and will send written notice ofmy withdrawal ofthi!l authorization to the stqffofthe. healthcare provider
 l'1ho is providing services 10 me, OR to the Departments Privacy Officer at 2 Peachtree St. N1Y, Suite 11.240 Atlanta, GA 30303-J42.

 Dale this l!uthoriUtioll      is Tew)ked
DBHDD PolIC'/: 23-110 Arrachment A                                              Signature ofJndmduai or LegaUyAuthorizedRepresco;ative

                                                                                                                          Version 3/31/2015
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Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 28 of 76


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            Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 29 of 76
            Case 1: 11-cv-00174-CAP Document 13 Fi!ed 05/13/11 Page 1 of 1




                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION


WILLIE C.              ~\lALKER;

                       Petitioner,                   CIVIL ACTION
            \ j ..                                   NO. 1:11-CV-174-CAP
STATE OF GEORGIA,
                        Respondent.

                                              ORDER

        After           carefully     considering the     report   and   recommendation

("R&R   U
              )      of the magistrate judge (Doc. No. 12), the entire record as

a whole,              there being no objections by the petitioner,           the court

receives the R&R vlith approval and ADOPTS the it as the opinion and

order of this court.

        SO ORDERED,            this    13~   day of May, 2011.


                                                 /s/ Charles A. Pannell, Jr.
                                                 CHARLES A. PANNELL, JR.
                                                 United States D~stric:t Judge
       Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 30 of 76
        Case 1: 11-cv-00174-CAP Document 14         Filed 05/13/11   Page 1 of 1



                         UNITED STATES DISTRlC1' COUR1'
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

                                            :
 WILLIE C. WALKER,                          !
                                            I

                     petitioner,                     CIVIL ACTION FILE
                                            \
 VS.

 STATE OF GEORGIA,
                                            !        NO.1 :11 ~cv-17 4-CAP


                     Respondent.            I
                                    JUDGMENT


       This petition for a writ of habeas corpus having come before the court, Honorable

Charles A. Pannell, Jr., United States District Judge, for consideration, and the petition

having been considered and the court having rendered its opinion, it is

       Ordered and Adjudged that the petition for a writ of habeas corpus be, and the

same hereby is and dismissed.

       Dated at Atlanta, Georgia, this 13th day of May, 2011.


                                                        JAMES N. HATTEN
                                                        CLERK OF COURT


                                                  By: S/Andrea Gee
                                                      Deputy Clerk

Prepared, Filed and Entered
in the Clerk's Office
    May 13, 2011
James N. Hatten
Clerk of Court

By: s/Aodrea Gee
   Deputy Clerk
                   Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 31 of 76




                               . IN THE UNITED STATES COURT OF




                                                  No. 11-13818-1


      WILLIE C. WALKER,
                                                                                      Petitioner-Appellant,

                                                       versus

      STATE OF GEORGIA,

                                                                                     Respondent-Appellee.



                                    Appeal from the United States District Court
                                       for the Northern District of Georgia


      Before CARNES, WILSON, and PRYOR, Circuit Judges.

      BY THE COURT:

                 This appeal is DISMISSED, sua sponte, for lack ofjurisdiction. Appellant's notice of appeal

      filed on August 9, 2011, is untimely as to the district court's May 13,2011, final order and judgment.

      See Fed.R.App.P. 4(a)(1); Rinaldo v. Corbett, 256 F.3d 1276, 1278 (lIth Cir. 2001). Moreover, the

      district court lacks the authority to reopen the appeal period because Walker's notice of appeal only

      asked for an extension of time to appeal, and was filed more than 30 days after the appeal period

      .expired, so was untimely to extend it, and in any event the district court denied the motion.

      Fed.R.App.P.4(a)(5). Finally, he never alleged that he did not receive notice of judgment, so this

      Court cannot otherwise constme the filing as a request to reopen the appeal period. Fed.R.App.P.

      4(a)(6).

A-.ppencA I" '/.."       A
                                       e ..        11
        Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 32 of 76



                                   ,Ex !\I'b,·k (A )
                                                                                 FILED
                                                                    EALS U.S. COURT OF APPEALS
                      IN THE UNITED STATES COURT OF                        ELEVENTH CIRCUIT
                               FOR THE ELEVENTH CIRCUIT
                                                                              APR".4 2011

                                                                                JOHN LEY
                                        No. ll-I0977-A                           CLERK


WILLIE C. WALKER,
                                                                          Petitioner - Appellant,

                                              versus


STATE OF GEORGIA,
                                                                         Respondent - Appellee.



                          Appeal from the United States District Court
                             for the Northern District of Georgia



Before EDMONDSON, WILSON, and PRYOR, Circuit Judges.

BY THE COUR T:

       TIris appeal is DISMISSED, sua sponte, for lack ofjurisdiction. The magistrate judge's

January 26,2011, order is not a final, appealable decision. See 28 U.S.C. § 636(b); Donovan v.

Sarasota Concrete Co., 693 F.2d 1061, 1066-67 (lIth Cir. 1982); United States v. Cline, 566

F.2d 1220 (5th Cir. 1978).

       No motion for r~consideration may be filed unless it complies with the timing and other

requirements of 11 th Crr.R. 27-2 and all other applicable rules.
      Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 33 of 76




             IN THE SUPERIOR COURT OF BALDvVlN COUNTY
                                STATE OF GEORGIA

\VILLIE C.    \VALKER~


              Petitioner 1                 *
                                           '*
       Y.                                  *       CIVIL ACTION FILE NO.
                                           *       13CV46792
 DA~ HO\VELL. Central State                *
 Hospital,                                 *
                                           '*
               Respondent.

                                           ORDER

        Having considered the above referenced matter and reviewed all pieadings

 filed i1l1his case, it is hereby ordered and adjudged that the I\.{Otion to Dismiss tIled

 by Respondent is GR:\NTED and Applicant:s Application tor vVrit of Habeas

 CorpLiS is hereby dismissed in its entirety.
                                b~L             ~
        So ORDERED this         u'
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                                       J        .:J a.v_\.{Q~,-,\   •



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                                                                                      ~
                                           Jlidg'e: Superior COllrt of Baldwin                 COUlTty




(J enttife1{ Dalton" •            -==--
'''-Senior .t\ssistant Attorney General
   Department ofLa\y
   40 Capitol Square
   AIial1ta... Georgia
                   ..... 30334
   404-656-0942
. • 1 ,...... I
JCla.wni[Y.atv,ga.gov
      Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 34 of 76
      ,rl

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     L..-f  op-lV;I

              i       I

                          SUPRElVIE COURT OF GEORGIA
                          Case No. S14A1337


                                                      Atlanta         June 16,2014


      The Honorable Supreme Court met pursuant to adjournment.

The following: order was "'oassed:
                          ~




                              WlLLIE C. WALKER v. DAN HOWELL

      From the Superior Court of Baldwin County.

      Appellant seeks to appeal the dismissal of a pre-trial habeas petition.
Because he was required to file an application for discretionary appeal, however,
this direct appeal hereby is dismissed. Brown v. Crawford} 289 Ga. 722 (715
SE2d 132) (2011).
       All the Justices concur.




                                                SUPREME COURT OF THE STATE OF GEORGIA.
                                                                  Clerk's Office, Atlanta

                                                     I certifY that the above is a true extract from the
                                              Minutes of the Supreme Court of Georgia.
                                                     Witness my signature and the seal of said court hereto
                                              affixed the day and year last above written.




                                                 ~           c,. ~ .                    ChiefDeputy Clerk
        Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 35 of 76




                                                                                  O·.[-'"(' '.t ;;
                                                                                                i)
                                                                                                     'Hj
                                                                                                     {, \
                                                                                                          If)0   v\
                            In The Superior Court of Fulton County
                                       . State of Georgia


                                                            CaseN6:-IOSC9369T- - .
. Willie C. Walker
                                                                      11SC99124
        Petitioner,
 V.                                                         Civil Action No. H C 01 032
 State of Georgia,
 The Boat Rock C.I.H.                                                  ,\i ()J hi; (> 1e' '] J
          Respondents.




                                         Notice of Filing

 O.C.G.A.15-6·21

            Please take notice that in the above- style case matter, the petitioner herewith
 Files his motion to Vacate and Set Aside the Order Dismissing Case of a Writ of Habeas
 Corpus served upon the respondents for failure to perfect service of process.
            Service copies of the Fulton Sheriff Department is herewith Attached.

                   <-!'7 0 I QC;
        i 1'/" -......J-;"
 Dated: --------••--.------
               Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 36 of 76




                      In The Superior Court of Fulton County
                                    State Of Georgia
Willie C. Walker                                               Civil Action File No.
        Petitioner.
V.
State of Georgia.                                               H C 01031
Boat Rock C.I.H
         Respondent.
                                          \
                     Motion- Vacate and Set Aside Order of Dismissal
   Come Now. Willie C. Walker petitioner in the above reference case and move this court
To vacate and set aside this court order dated October 17, 2018; dismissing the case for failure
to perfect service and process upon the respondents. O.C.G.A. 9-11-60 (d),(h ) permits the
court to relieve a party from an adverse order or judgment on various grounds, including fraud,
mistake, inadvertence,surprise or excusable neglect or because the court has assumed
Jurisdiction of the law practice of the parties pro se.



Dated: /   L-..s-=-   z  0   II g;
Presented By:
Willie C. Walker, Pro se
1236 Boat Rock Rd. S.W.
Atlanta, Georgia 30331
              Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 37 of 76



                                                                                     FILED IN OFFICE
MA
                         IN THE SUPERIOR COURT OF FULTON COUNTY                              OCT 1 7 2018
                                 ATLANTA JUDICIAL CIRCUIT
                                     STATE OF GEORGIA                                 DEPUTY CLERK SUPERIOR COURT
                                                                                           FULTON COUNTY, GA

 WILLIE WALKER,
                                                        CIVIL ACTION FILE
           Petitioner,                                  NO. HC01031

 v.                                                     JUDGE MARKLE

 STATE OF GEORGIA, THE BOAT
 ROCK C.LH.,

           Respondent.


                                      ORDER DISMISSING CASE

           The abov~-styled action was tiled on August 2, 2018. To date, this action has yet to be

 served. Petitioner is hereby notified that the Court will dismiss this Petition if it is not served on

 01"   before October 15, 2018.

           So Ordered, this       i   1   day of October,   2018~


                                           onorable TODD MARKLE, Judge
                                          Superior Court of Fulton County
 cc:
 Served via eFileGA

 Additional Service
 Willie Walker
 ODe # 1027879
 1236 Boat Rock Road, SW
 Atlanta, OA 30331
             Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 38 of 76


MA
                      IN THE SUPERIOR COURT OF FULTON CO
                                  ATLANTA JUDICIAL CIRCUIT                          FrLED IN OFFICE
                                        STATE OF GEORGIA
                                                                                    [        SEP 2 5 2018             jL5
 WILLIE WALKER,                                                                    DEPUTY CLERK SUPERIOR COURT
                                                       CIVIL ACTION m:;:Ij-_F_UL:.:..;TO;.:.:N~CO:.;:;U!!!N.!lTY~,G~A_ _
                                                                                                                       \' J
        Petitioner,                                    NO. HC01031

 v.                                                    JUDGE MARKLE

 STATE OF GEORGIA, THE BOAT
 ROCK C.LH.,

        Respondent.


                                               ORDER
        The above-styled action was filed on August 2, 2018. To date, this action has yet to be

 served. Petitioner is hereby notified that the Court will dismiss this Petition if it is not served on

 or before October 15,2018.

        So Ordered, this      .2 c:--   day of September, 2018.



                               ,,-/11-- Honorable TODD MARKLE, Judge
                                        Superior COUlt of Fulton County
 cc:
 Served via eFileGA

 Additional Service
 Willie Walker
 GDC # 1027879
 1236 Boat Rock Road, SW
 Atlanta, GA 30331
                               Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 39 of 76


                SHERIFF'S ENTRY OF SERVICE                                                                              SUPERIOR COURT
                Civil Action No. _ _I _:I-,~~:...:::;..;·-;_\-=(~:__
                                                                  : -=.~..::'::>{;:;;.:....,......_                     GEORGIA, FULTON COUNTY
                                                                                     ,....
                       'led                 I " -.             . ;-'"'5
                Date F 1 _ _ _ _.........'-'-:...:.;;../..:../.;;..;--,,::_ _
                Attorney's Address
                                                                                                                                                                                        Plaintiff
                                                                                                                                         VS,
                                    "~: .~....               '".' J_-

                Name and Address of Party to be Served
                                     -                                                                                                 .-.-. '",,:
                                       :
                                  '~ ..•     "   ~-:~... -
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                                                                                                                                                                  "




                                                                                                                                                                                      Defendant



                                                                                                 SHERIFF'S ENTRY OF SERVICE


                I have this day served the defendant                                                                                                                     personally with a copy
...J            of the within action and summons. - - - - - - - - - - - - - - - - - - - -
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Lt.l
Q..
                I have this day served the defendant~~--~:_____::__-:_:___:___:___:_:__-------by leaving a copy
                of the action and summons at this most place notorious place of abode in this county,
en
g               Delivered same into hands of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ described as follows
Ii!     0       age, about-years; weight, abouL-pounds; height about_feet and_ inches, domiciled at the residence of the
~               defendant
~
                Served the defendant _ _~_~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ a corporation
z
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            I
                by leaving a copy of the with in action and summons with._--.:.:-'-___~·'-_>_·-,-,.~-:-._ _ _ _ _ _ _ _ _ _ _ __
                in charge of the office and place of doing business of said Corporation in this County.
0
~
0
U               I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the
                door of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of the same
                in the United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said
-
....l
. .(
~
                summons, with adequate postage affixed thereon continuing notice to the defendant(s) to answer said summons at the
                place stated in the summons.
~       0
~
u
~               Diligent search made and defendant _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                not to be found in the jurisdiction of this court.
!-<
en
ttl
        0
5z              This _ _ _ _ _ _ _ _ _ _day of_ _ _ _ _ _ _ _20_ _' .



                                                                                                                                                                                     DEPUTY
                SHERIFF DOCKET_ _ _ _ _ _ _ PAGE _ _ _ _ _ __

                                                                 WHITE - CLERK; CANARY - PLAINTIFF; PINK - DEFENDANT
                         Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 40 of 76



            SHERIFF'S ENTRY OF SERVICE                                                                        SUPERIOR COURT
            Civil Action No. _---'1.·. .~_:~.~_(-..:.~1·..;.;.~"';;...:~.~...;:="""",•. _                     GEORGIA, FULTON COUNTY
                                                           ;'            l                                       .,                                                              .' ,
            Date Filed ____'_:;;:....                \-=..c·..;./j~"'~L'_ _
                                 , .<....;/:...:'___....                                                   ~""{ ...-:::-.!.....-'-...:..-""--.:...-.:..
                                                                                                                                                    .••' - - - '-;;..'-"'-"-'- - - -

            Attorney's Address
                                                                                                                                                                                    Plaintiff
                                                                                                                               VS.
               .. . :'                          .      -.
            Name and Address of Party to be Served                                                         'I. _ . _
                                                                                                                   . . .,:...;:                                      ~::-':_ '•_ __
                                                                                                                            --:....,_'" - " " " ' - -_ _- ' - - '-_"_'




                                                                                                                                                                                 Defendant



                                                                                     SHERIFF'S ENTRY OF SERVICE


            I have this day served the defentlant _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ peISonally with a co~y
...l        of the within action and summons.
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U.l
.a..        I have this day served the defendant _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ by leaving a copy
            of the action and summons at this most place notorious place of abode in this county.
r:/l
;:J         Delivered same into hands of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ described as follows
0
C2 0        age, abOUL- years; weight, abouL-pounds; height about_feet and_ inches, domiciled at the residence of the
~           defendant
0
~

            Served the defendant_ _ _ _ _ _....;...._ _ _ _--='..;..·'·-.::-i'_.___--.:.:........._ _ _ _ _ _ _ _ _ _ _ a corporation
S           by leaving a copy of the with in action and summons with_~"'__...:______________~_ _ _ _ __
§       0
            in charge of the office and place of doing business of s~id Corporation in this County.

~
0
U           I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the
            door of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of the same
            in the United States Mail, FiISt Class in an envelope properly addressed to the defendant(s) at the address shown in said
-~
....J
            summons, with adequate postage affixed thereon continuing notice to the defendant(s) to answer said summons at the
            place stated in the summons.
~       0
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u
E:5         Diligent search made and defendant _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            not to be found in the jurisdiction of this court.
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r:n
U.l
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6~
            This _ _ _ _ _ _ _ _ _dayof_ _ _ _ _--'-__.20_:_.
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                                                                                                                                                                                 DEPU1Y
            SHERlFF DOCKET:...-._ _ _ _ _ _ _ PAGE _ _ _ _ _ __


                                                       WHITE - CLERK; CANARY - PLAINTIFF; PINK - DEFENDANT
                               Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 41 of 76



                  SHERIFF'S ENTRY OF SERVICE                                                           SUPERIOR COURT
                                                 ,   -
                                                     ~                -: ~~"~    .
                                                                                                       GEORGIA, FULTON COUNTY
                  Civil Action No. _--,-'"",i_"--:'-=--'--,-'___-'-_
                  Date Filed _ _ _ _ _"~,"-':""::'-'";;'_'",-',_:_i....::--__
                                                                           '_

               " Attorney's Address
                                                                                                                                                Plaintiff
                                                                                                             VS.
                                                         "
                                                                                                                           ,
                                                                                                                               .
                                                                                                                               ,
                  Name and Address of Party to be Served
                                                                                        ,-.
                                                                                         "    '.




                                                                                                                                           Defendant



                                                                                SHERIFF'S ENTRY OF SERVICE

                 I have this day served the defendant _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ personally with a copy
~                of the within action and summons.
5;;n     0
et:
t.Ll
I:L.              I have this day served the defendant_~---------------_ _ _ _ by leaving a copy
                  of the action and summons at this most place notorious place of abode in this county.
<Zl
:::::J
0                Delivered same into hands of                                                           described as follows
;a               age, abouL..... years; weight, abouL-pounds; height about_feet and_ inches, domiciled at the residence of the
         0
z~
                 defendant.


                  Serveg. the def~n:dant             , , _ '
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0            ..., ~ byi~Ving'~ c~pyofthe with'ii1:acnon and summons with_'c,~~'~..;. .,~_~_-,-";,;"::,-,--_";,:,,,,,,,,--,!',,~,_-'-'-~""":....-_ __
§        0
                  in charge of the office and place of doing business of said Corporation in thiS, County.
 0
~
0                 I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the
U
                   door of the premises designated in said affidavit, and on the same day of such posting by dep9Siting a true copy of the same
                   in the United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said
...:I              summons. with adequate postage affixed thereon continuing notice to the defendant(s) to answer said summons at the
~               . "place stated in the summons.                                              '
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u
i=S              Diligent search made and defendant _ _ _ _ _-,-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  not to be found in the jurisdiction of this court. .
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 CIl
 t.Ll                                                                                                                                      -·'f " .......7 ..:   ...
         0
 6z              This _ _ _~_ _ _ _ _....;day of_ _----.-....--~_-__:_20_,_'


                                                                                                                                      "- 'DEPUTY
                  SHERWFDOCKET______________ PAGE _____________


                                                         WHITE - CLERK; CANARY - PLAINTIFF; PINK - DEFENDANT
           Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 42 of 76




                                   Certificate of Service



  I, Willie C. Walker, do hereby certify that I have served the ongoing pleadings of the
proceedings being a Notice of Filing, Motion to Vacate and Set Aside Order dismissing
Case, Copies of the Sheriff service forms upon the following: by U.S. Mail.



   1. The Boat Rock C.I.H.
      1236 Boat Rock Rd. S.W.
       Atlanta, Georgia 30331

    2. District Attorney Office
       Kevin Armstrong, Asst. Dist. Atty.
       Office of the Fulton County District Attorney
       136 Pryor St. S.W. Third Floor
       Atlanta. Georgia 30303




Re:-Willie C. Walker, Pro se
1236 Boat Rock Rd. S.W.                                                /                            ,/1                   I
Atlanta, Georgia 30331                                              /f                         ,"   \,  .I            !           /


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                                                            /   /          "         ','            v         /               /       ;
Cell Ph.678-613-8112
                                                       ."·L/'-J M' V           ,t          ~        ",rv~ '" t..[../(J'
Residents Ph. 470-305-7139                             ---~--------            ('   -_.-------------------------------------
                                                   Petitioner, Willie C. Walker, Pro se
              Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 43 of 76


...
                              In the Superior Court of Fulton County
                                        State of Georgia

                           In The Municipal Court of Union City
                                    State of Georgia
      Willie C. Walker                      )                   Superior Court Case No.
                                                                10SC93691, 11SC99124
             Petitioner,                                         Civil Action No.H C 01032
      Vs.                                                        Civil Action No.H C 01031
      State Of Georgia,                                          Municipal Court No.2018-213003
      Union City Police Department,
      Antron Evans                            )
                                                                             ./                          '

             Respondents




                                                                • • • ,,~   • J   ' ,• • • ,   •   .':




                                             Notice of Filing

        Please take notice that in the above-style case matter, the petitioner herewith files Motion for
      Joinder of Remedies, Brief in Support of Motion for Joinder of Remedies,Affidavit and Exhibits
      Of the Record in the Superior Court of Fulton County, copy of Citation.




                        , .     ,

      Willie, C. Walker"pro se
       ~  I.    I '. •  .                ,   ,
      1236 Boat Rock Rd. SW
      Atlanta Georgia 30331
      williew1236@gmail.com
      678-613-8112
      470-305-7139
             Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 44 of 76




                           The Municipal Court of Union City
                                  State of Georgia

Willie C. Walker
        Petitioner,

 vs
                                                                                                         case no. 2018-213003
State of Georgia,
Union City Police Department,
Antron Evans

            Respondents.

                                   Motion for Joinder of Remedies

  The joining of two claims in one action even though one cannot be recognized until the other
Is resolved: the combination of legal and equitable claims in one action when a fraudulent
Conveyance must first be set aside legally before equitable relief can be granted to a creditor.
   Petitioner vest Title, Warranty Deed, Respondent Doctrine Superior of the Superior Court of
Fulton County, created (1980).


         /.~ J/~ it}
Dated--------.. -------------------------                                                             / ~';/. I"~/1               I ,//
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                                                                                                           /
                                                                                  Petitioner, Willie C. Walker, Pro se
Willie e.Walker, Pro se '., .               ~..   , ,f,   .; ••• ,   I •   ;"',                                 ..    "   "'.   ", .,   .

1236 Boat Rock Rd. SW
Atlanta Georgia 30331
678-613-8112
williew1236@gmail.com

                                                                                     '   ..                                                    ..
             Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 45 of 76




                         The Municipal Court of Union City
                               State of Georgia



Willie C. walker,                             )             case no.2018-213003
       Petitioner.                             )
                                                )

VS

State of Georgia,
Union City Police Department,
Antron Evans
         Respondents.



                                Brief in Support of Motion for
                                Joinder of Remedies

   Petitioner is currently being held at Boat Rock Inc. a " community Integrated Home" where
 He is involuntary committed by Order of Judge Campbell entered on November 7,2017.
   On the date of 12-16-2018, said co-defendant was charged with the offense of Battery-
Code section 16-5-23.1. Said accuse Antron Evans did on said date did commit aggravated
Battery-code section 16-5-24 upon said Willie C. Walker by striking him about the left side of
His head while in possession of a case knife, causing said defendant a swollen face where he
Was struck after being awaken from bed. Joinder of a party to a suit require by the court when
The party is indispensable to complete relief for parties already involved or when the party
claims an interest that may substantially affect the other parties or may be put at risk by the
action.

  See permissive joinder. W.M. McGovern Jr. et a\. Federal Rules of Civil Procedure- Rule 19
(a). Join issues with the conclusion. Collateral Attack, (RICO)- 18 USC 1961-1968. {1970.
           Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 46 of 76




                                Certificate of Service



  I, Willie C. Walker, do hereby certify that I have served the ongoing pleadings of the
Proceeding being a Notice of Filing, Motion for Joinder of Remedies, Brief in Support of Motion
for Joinder of Remedies, Affidavit, Portions of the Record as Exhibits in the Superior Court of
Fulton County. Upon the Following by U.S. Mail.

   1. The Boat Rock C.I.H.
      1236 Boat Rock Rd. SW
       Atlanta, Georgia 30331

   2. District Atty. Office
      136 Pryor St. SW. Third Floor
      Atlanta, Georgia 30303

    3.Clerk of the Superior Court of Fulton County
      136 Pryor st. Room 106
       Atlanta, Georgia 30303

     4. The Municipal Court of Union City
        5060 Union St.
        Union City, Georgia 30291




                                                     Willie C. Walker, pro se
Willie C. Walker
1236 Boat Rock Rd. SW
Atlanta, Georgia 30331
wilJiew1236@gmail.com
678-613-8112
                      Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 47 of 76




                                                The Municipal Court of Union City
                                                      State of Georgia

             Willie C. Walker                                                     Case No.20 18-213003
                   Petitioner,
             Vs
             State of Georgia.
             Union City Police Department,
             Antron Evans
                    Respondents



                                                          Affidavit

             State ofGeorgia                .      ' ..                              . '.                   ..   .,!        .


             County of Fulton,         r  J' ~ C [~D            "..
                 The undersigned..bU_LL~.s____-..:--:--~___~~L, being duty sworn, hereby deposes and say:
             1. I am over the age of 18 and am a resident of the State of Georgia. I have personal
             Knowledge of the facts herein, and, jf called as witness, could testify completely thereto.
             2, Petitionerls.cur.rently. R0t:1Se ·in the Boat· Rock House- IflC. a cQmmwnity Intergratecl home .. ; ~ ....
             Which is located in Fulton County. Jurisdiction is therefore proper. O.C.G.A. 9-14-43.
             3. On the date of 12-16-18 said co- defendant was charged with offense of Battery code
             Section a.C.G.A. 16-5-23. 1.
             4. Said accused Antron Evans did on said date commit aggravated battery a.C.G.A. 16-5-24
             Upon said Willie C. Walker by striking him about the head while in possession of a case
             Knife causing said co- defendant a swollen face where he was struck after being awaken from
             bed.
             5. That co-defendant Antron Evans and Willie C. Walker were room mates in the Boat Rock
             home Inc. After being charged with said offenses he was removed from the room and told not
             To violate his limitations by coming to the bedroom again, but did on 12-27-18 at 5 :30 am
             co-defendant was awaken by said co-defendant in the bedroom, no incident insued at that time.
             6. That the Notice of filing a.C.G.A 15-6-21 of the United States District Court Final Order and
             Judgment is a appealable order a.c.G.A. 9-11-60 (d) (h) in the rendition of the court jurisdiction.
                  That the issues are moot and that probable cause exist. That the case should be bound over
             to the jurisdiction of the Superior Court of Fulton County. See O.C~G.A. 9-1j-43, 9-14-42(c),
             9-14-1 (c).                                                                        //   ~,/,,/ /~I/'
<-,   .. ,
              ., -' ,",,, '                                                      ~/2~.)!tL~(!!:L:_:__-
                                                                         Signature of Affiant, Willie C. Walker,· pro se

              I declare that, to the best of mY, knowledge and belief, the information herein is true, correct.
             and complete.
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          Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 48 of 76



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Executed this ----.::.:-.:.---day of -----------------------2019.
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Sworn to and subscribed before me this -------------Day of ---------------- ----------------

      /   i   .'        !-
___ ._~~~;~~!:~_L~~~:::::------------------------
Notary Public or other Person Authorized to Administer Oaths



    MY COMMISSION EXPIRES
      OCTOBER 17, 20£
          Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 49 of 76




                                                    Bind over Notification



Date:
Defendant:    wfo!#0 a/;!ILL
                        ~                "



Citation(s): _ _ _  r-A.:-~_'_;rc,.....;:'6:;...'l...;::oC=--_ _

Your citation(s) have been bound over to the State Court of Fulton County. The City of South
Fulton Municipal Court no longer has jurisdiction over your citation(s). Should you have any
questions regarding your citation(s) please contact:


                                          Office of Fulton County Solicitor
                                                160 Pryor Street, SW
                                                      3rd Floor
                                                 Atlanta, GA 30303
                                                    404-612-4800




Tlwlk:J-
  S!1u!i.
City of South Fulton Municipal Court Staff




                   5440 Fulton Industrial Boulevard, Atlanta, Georgia 30336
                                       (470) 809-7700
                            . www.cityofsouthfultaonga.gov
       Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 50 of 76
                    - - . ---_ ... _..----- .---... ... - ... - ...
                                             ~--.-----------




                        STATE COURT OF FULTON COUNTY
                               CRIMINAL DIVISION
                            , The Honorable Myra Dixon, Chief Judge
                            ; Nichole C. Milton, ChlefDeputy Clerk
                            :    160 Pryor Street SW, Sutte .J~150
                                     Atlanta, Georgia 303113
                                         (404) 6;u.s085
                                       www.fUltonstate.org




                           INFORMATION REGARDING
            CASES TlJAT!ARE BOUND OVER TO STATE COURT

Municipal Court bind-over~ cases are sent directly to the state prosecutor, the Fulton
County Solicitor Gen.eral, to be r6Vi.ewed and a charging decision made. Per
Georgia law (O.C.G.A. § 17-3~1)~ the Solicitor General has two years from the date
of the incident to :file a fon;o.al accusation of misdemeanor traffic charges. Only at
that time will a formal cas~ be 'initiated against you in Fulton County State Court.
Soon thereafter, you will. r~ceive notice :in the mail of your next court date at the
address listed on your citaiaon. Again, tbis may occur
un to 2 years after the dat~ of the incident.

We understand that your ~ajHng address may change between the time your case is
bound~over and when it is 'fo:rmally charged by the Solicitor General.
Unfortunately! because yotu- case is sent directly to the Solicitor General. t1:iis Court
has no record that can be -qpdated. If your address has changed slnce you were
issued a citation, we recorijnnend that you check with our pffice every 1-2 months to
see if a formal accusation has been filed against you. You may do so by checking
our records oriline at wwW.fultonstate.org.Click on, "Online Court Records') to the
left of OUT home page of oUr website. You will then again click on "Online Court
Records". Using Smart Search, search for yom name. Once you are able to locate
your case here~ you may s1Ibmit a Change of Address in writing to our office. Be
sure to reference your neW State Court case number when filing your Change of
Address.               \

The following phone numbers may be h~lpful during this process:
   &   Office of the Fulton County Solicitor General (404-612-4800)
   e   State Court of FultOn County, ~riminal Division (404-612-5085)
                       Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 51 of 76
                                     REPORTING OFFICER NARRATIVE              OCA
SOllth Fulton Police Department                                                                       2018-213003
    Victim                                    Offense                                             Date I Time Reported
       EVANS, ANTRON SHiROD                        BA1TERY                                           Sun 121161201800:45
                   THE lNFORMATION BELOW IS CONFIDENTIAL - FOR USE BY AUTHORIZED PERSONNEL ONLY



    On 12116118 while on unifonn patrol, I Corporal O. Fears responded to 1236 Boat Rock Rd in reference to a
    physical dispute among cohabitants. Upon arrival I made contact with Mr Antron Evans where he stated his
    roommate (Willie Walker) struck him on the hand during a verbal dispute. Mr Evans stated he and Mr Walker
    engaged in a verbal dispute regarding a difference in opinion from a previous discussion and the feeling of being
    antagonized. Mr Evans stated he suffers from and has been diagnosed with Schizophrenia. Mr Evans stated he
    consumes his prescription medication regularly and recently completed his daily dosage. Mr Evans stated Mr
    Walker initiated an argument and struck him on his right hand with a small decorative lamp. Mr Evans stated he
    then returned a counter punch striking Mr Walker on the left side of his face with a closed fist.

     I then made contact with Mr Willie Walker where he stated while asleep in the bed Mr Evans initiated an argument
     with him. Mr Walker stated he then asked Mr Evans to disengage the conversation and allow him to continue
     resting. Mr Walker stated Mr Evans refused his requested and proceeded to confront him regarding previous
     discussions. Mr Walker stated Mr Evans suddenly struck him on the left side of his face with a closed fist, where he
     then obtained a nearby decorative lamp to defend himself. Mr Walker stated he did not strike Mr Evans at any point
     during the physical dispute.

     Both individuals gave conflicting testimonies and contradicting physical evidence. I observed swelling on the right
     hand ofMr Antron Evans and swelling to the left side of Mr Willie Walker's face.

     Both individuals received a criminal charge in violation O.C.G.A. 16-5-23.1 Battery with a following court date of
     January 29 2019 at 9:30am.

     Mr Antron Evans was voluntarily transported to Grady Memorial Hospital by ambulance unit 813 for Phyciatric
     evaluation.

     The two individuals were separated and received a copy of the applied criminal charge.




Reporting Officer: FEARS.   a
                                           Printed By: SFPD86,
                                                                 011041201915:1 I
                                          Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 52 of 76

           Ag~ncyName                                                              INCIDENT/INVESTIGATION                                            Case#
                                                                                                                                                               2018-213003
                 South Fulton Police Department                                                       REPORT                                         Date I Time Reported
  I        ORI                                                                                                                                                    121161201800:45 Sun
  N                                   GA 0607200                                                                                                     Last Known Secure
  C
           Location oflncident                                                                                                                                    121161201800:45 Sun
                                                                                                                               I
  1                                                                                     Premise Type                               ZoneITract
                                                                                                                                                     At Found
  D              1236 Boat Rock Rd., South Fulton GA 30331-                                      Resident/home                       SF41                         12116/201800;45 Sun
  E
  N        #l
                  Crime Incident(s)                                        (Com)        Weapon / Tools PERSONAL WEAPONS (HANDS. FEET)                                            I   ACtiVity
  T
                  Battety
                  1313
                                                                                        Entry                 Exit               Security              I
  D               Crime Incident                                           (       )    Weapon I Tools                                                                               Activity
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           #2
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  A
                  Crime Incident                                           (       )   Weapon J Tools                                                                            I   Acltvlty
           *3                                                                          Entry                            Exit                          J Security

 MO

           # of Victims    2          I
                                     Type: INDIVIDUAL                                                   Injury: Apparent Minor Il\iuries           Domestic; N
                    VictimlBusiness Name (Last, First, Middle)                                       Victim of     DOB      Race Sex Relationship Resident Status    Military
  V         VI      EVANS. ANTRON SHIROD                                                             Crime # 05//1//985                To Offender                Branch/Status
   I                                                                                                    1,       Age 33      B M                va   Resident
  C
  T
           Home Address
                    1236 BOAT ROCK RD. • South FlIlton, GA 30331-
                                                                                                                                                           IHome Phone
   I
  M         Employer Name/Address                                                                                                   Business Phone                   Mobile Phone

            VYR          Make         IModel         IStyle            leotor                   ILie/Lis                            VIN
            CODES: V- Victim (Denote V2, V3) 0- Owner (if other than victim)                     R '" Reporting Person (if other than victim)
  0         Type: INDIVIDUAL                                                                             Injury: Apparent Minor Injuries
  T        Code Name (Last, First, Middle)                                                            Victim of      DOB          Race Sex Relationship Resident Status    Military
  H                 WALKER, WILLIE CLARENCE                                                           Crime # xxlxxll!)52                    To Otrender                Branch/Status
            V2
  E                                                                                                       I,      Age 66          B M           va         Resident
  R
  S
            Home Address
             1236 Boat Rock Rd. South Fulton, GA 30331
                                                                                                                                                           I
                                                                                                                                                      Home Phone
            Employer Name/Address                                                                                                   Business Phone                   Mobile Phone
  I
  N         Type:                                                                                       Injury:
  V
  0        Code Name (Last. First, Middle)                                                           Victim of      DOB            Race Sex Relationship Resident Status    Military
                                                                                                     Crime #                                To Offender                  Branch/Status
  L
  V
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  D
            Home Address
                                                                                                                  Age
                                                                                                                                                           IHome Phone

            employer Name/Address                                                                                                    Business Phone                 IMobile Phone
            I - None 2 -Bumed 3 - Counterfeit I Forged 4 == Damaged I Vandalized 5 = Recovered 6 -Seized 7 - Stolen S = Unknown
                                    ("OJ" == Recovered for Other Jurisdiction)
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            OfficerllD#         FEARS O. (SFPD46)
            Invest 10#          (0)                                                                                     Supervisor                    WOOD, L. (SFPD81)
       I
Status Complainant Signature                                / Case Status                                           Case Disposition:
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                                     Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 53 of 76
                                                  INCIDENT/INVESTIGATION REPORT
         .
      South Fuiton Police Department                                                                                  I Case 1# 2018~2 13003
    Status    1= None 2'" Burned 3 = Counterfeit I Forged    4 =Damaged I Vandalized .5 = Recovered 6 = Seized 7= Stolen 8;Unknown
    Codes
             IBR Status       Quantity        Type Measure               Suspected Type

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             Assisting Officers
              ROGERS, J. (SFPD70)

             Suspect Hate I Bias Motivated:

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-                                                                 By; SFPD86, 01/04/201915:10
      Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 54 of 76




             IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF GEORGIA
                       MACON DIVISION
WILLIE C. WALKER,

              Petitioner,                          5:14-CV-323 (CAR)

vs.                                                Proceeding Under
                                                   28 U.S.c. § 2241
SUSAN TRUEBLOOD,

              Respondent.

                    ORDER ON THE RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE

       Before the Court is the Report and Recommendation [Doc. 15] from United

States Magistrate Judge Charles H. Weigle to deny Petitioner's petition for relief

pursuant to 28 U.s.c. § 2241. Petitioner has filed an Objection to the

Recommendation [Doc. 16]. Pursuant to 28 U.S.C § 636(b)(I), the Court has

thoroughly considered Petitioner's Objection, has made a de novo determination of

the portions of the Recommendation to which Petitioner objects, and finds the

Objection to be without merit.

       Despite Petitioner's arguments and additional evidence, he still fails to show

he has appealed his current order of civil commitment or has sought habeas relief

from the   ===    confinement. Petitioner did attach "Exhibit L" to the Objection;

however, this exhibit does not show he has appealed or sought habeas relief from
     Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 55 of 76




the January 10, 2014 order of civil commitment. In order to obtain federal relief,

Petitioner must show that he has pursued a petition for writ of habeas corpus from

the Baldwin County court's final order of civil commitment or that he has

petitioned for relief under O.CG.A. § 17-7-131(f); or he must show that these state

remedies were unavailable or would prove ineffective to protect his rights. Because

Petitioner has failed to do so, his Section 2241 petition must be dismissed.

      This Court agrees with the Magistrate judge's reasoning and conclusions as

set forth in the Recommendation and OVERRULES Petitioner's Objection.

Accordingly, the Recommendation [Doc. 15] is ADOPTED and MADE THE

ORDER OF THIS COURT, and Petitioner's petition for relief pursuant to 28 U.S.C

§ 2241 [Doc. 11 is hereby DISMISSED.


      SO ORDERED, this 20th day of November, 2015.


                                          SI C. Ashley Royal
                                          C. ASHLEY ROYAL
                                          UNITED STATES DISTRICT JUDGE
              Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 56 of 76




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF GEORGIA
                                      MACON DIVISION

WILLIE C. WALKER,                                   *
                       Petitioner,                  *
v.                                                       Case No. 5:14-CV-323-CAR
                                                    *
SUSAN TRUEBLOOD,
                                                    *
                       Respondent.
                                                    '"
                                             JUDGMENT

          Pursuant to this Court's Order dated November 20, 2015, having accepted the recommendation

of the United States Magistrate Judge, in its entirety, JUDGMENT is hereby entered dismissing this

action.

          This 20th day of November, 2015.

                                             David W. Bunt, Clerk


                                             sl Amy N. Stapleton, Deputy Clerk
                      Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 I_ berebv
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                                   IN THE UNITED STATES DISTRICT CfalJEI
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                                                                                            • C~COlllt
                                  FOR THE NORTHE~l\,J DISTRICT OF GEORGIAc\~6J) 2014 JamesN. . . .
                                             ATLANTA DIVISION                       \
                                                                                                       ""
                 WILLIE C. WALKER,                                       PRISONER CIVIL RIGHTS
                     Plaintiff,                                          42 U.S.C. § 1983

                       v.

             1   STATE OF GEORGIA et a1.,                                CIVIL ACTION NO.
                     Defendants.                                         1: 13-CV-1581-CAP-LTW

                            ORDER A~D FINAL REPORT AND RECOMMENDATION

                       Plaintiff is confined at Central State Hospital in Milledgeville, Georgia.

                 Plaintiff, pro se, filed a complaint under 42 U.S.c. § 1983. (Doc. 1.) Because it was
             I




                 unclear from the complaint what claIms, if any, Plaintiff wished to assert and what

                 relief he sought, the Court directed him to file an amended complaint on a § 1983

                 fonn. (Doc. 3.) Plaintiff complied. (Doc. 4.) Unfortunately, the amended complaint

                 is not much clearer than the original.

                       It appears from Plaintiffs filings that he has been charged with crimes in Fulton

                 County, Georgia and has been deemed mentally incompetent to stand trial. Plaintiff

                 states that he was transferred from jail to the mental hospital in November 2011.

                 (Doc. 4 at 6.)

                       Plaintiff alleges that hospital staff censored his mail in violation of his right to

             : access the courts and used excessive force against him in 2012. (Id. at 6-9.) The



AO 72A
(Rev.8/82)
                   Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 58 of 76
                                                                (I)
              hospital is located in Baldwin County, Georgia, which is not within the jurisdiction

              of this Court. Baldwin County is within the jurisdiction of the U.S. District Court for

              the Middle District of Georgia. That court is the proper venue for Plaintiffs claims

              regarding the events that allegedly occurred at the hospital. See 28 U.S.c. § 1391(b).

                    Plainti ff also appears to seek habeas relief in his amended complaint, as he

              discusses the history of the prior case he filed in this Court seeking habeas relief while

              he was in jail awaiting trial. (Doc. 4 at 3-5, 10.) The Court dismissed that case

             . because there were no special circumstances warranting intervention in the state

              criminal proceedings. Order, Walker v. Georgia, No.1: 11 ~cv-174~CAP (N.D. Ga.

              May 13,2011), appeal dismissed, No. 11-13818-1 (llth Cir. Oct. 25,2011). In his

              amended complaint in this case, Plaintiff recites the law discussed in the Court's

              Orders in the prior case but makes no showing that intervention in his state criminal

              case is now warranted. (Doc. 4 at 3-5, 10.) Plaintiff's filings also do not indicate that

              he has exhausted the state remedies available to him to challenge his confinement at

              the hospital or any adjudication that he is mentally incompetent to stand trial. I (See


                    I  Plaintiff attached to his original complaint a document he drafted and titled
              "Writ of Habeas Corpus" with a caption of the Superior Court of Baldwin County.
              (Doc. 1 at 27-28.) The document is dated March 27, 2013. (Id. at 28.) The Court's
              staff contacted the clerk's office of the Baldwin County Superior Court and learned
              that the Baldwin County court has no record of any habeas filing by Plaintiff.

                                                          2


AO 72A
(Rev.8/82)
                    Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 59 of 76
                                                               (I)
             Docs. 1,4); O.CG.A. § 37-3-148(a) (providing that persons detained as incompetent

             to stand trial may seek habeas relief in state courts). Thus, this § 1983 action should

             not be recharacterized as a habeas action. See Preiserv. Rodriguez, 411 U.S. 475, 500

             (1973) (holding that habeas corpus is the "sole federal remedy" when a state prisoner

             seeks "a determination that he is entitled to inunediate release or a speedier release

             from ... imprisonment").

                   Because this Court is not the proper venue for Plaintiffs claims under § 1983

             regarding events occurring at the hospital and Plaintiff may not obtain release from

             his confinement under § 1983, the undersigned RECOMMENDS that this action be

             DISMISSED WITHOUT PREmDICE to Plaintiffs right to present his § 1983

             claims in the proper venue and to present any claims for habeas relief in a proper

             action after exhaustion of state remedies. The Court GRANTS Plaintiff leave to

             proceed in forma pauperis for purposes of dismissal only_
                                                                                (\1
                   so ORDERED & RECOMMENDED/" 's                  iI.a- day of_l.~'   ,,J..,-.        ,2013.
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                                                                         J //C{r~th<J
                                                  ~    IN f T. WALKER
                                                      UNITE STATES MAGISTRATE JUDGE
                                                                  I




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A072A
(Rev 8/82)
             Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 60 of 76

•

                        IN THE SUPERIOR COURT OF FULTON COUNTY
                                    STATE OF GEORGIA        ~R~ECr:iE~I';;:;:/~--
                                                                                         vED IN OFFICE
                                                                                                          ~,..,""'"
                                                                                                                      )
                                                                                      .IVN 23 2011
    STATE OF GEORGIA

           v.

    Willie Walker



                            JUDGEMENT AND ORDER IN PLEA OF
                          MENTAL INCOMPETENCY TO STAND TRIAL


    The defendant in the above-styled case, while represented by Counsel, has waived a jury trial.
    The Court sitting as judge and jury trying the issue formed upOn the Defendant's Plea of Mental
    Incompetency to Stand Trial, fmds as follows:

    Counsel for Defendant has presented to the Court sufficient psychiatric evidence to show that
    Defendant is incapable of understanding the nature of the charges against himlher, nor of
    understanding the object of the proceedings against himlher, and is incapable of rendering hislher
    attorney proper assistance in hislher defense. Counsel moves that hislher plea be sustained by
    the Court and that the Defendant be placed in the custody of the Department of Human
    Resources (DHR).

    After consideration of all the medical evidence and the attached psychiatric report, the Court, the
    Court finds in favor of the Defendant's Plea of Mental Incompetency to Stand Trial.

    THEREFORE, the Court hereby ORDERS that the Defendant be confined in a State facility for
    the mentally ill. Within ninety (90) days after the Department of Human Resources has received
    custody of the Defendant, the Defendant shall be evaluated and a diagnosis made as to whether
    helshe is presently competent to stand trial or whether there is substantial probability that the
    Defendant will at some future time attain mental competency to stand trial in the said case.

    IT IS FURTHER ORDERED that the Department of Human Resources shall report their
    findings and the reasons therefore to this Court.

    IT IS THE FURTHER ORDER of this Court that the Sheriff of Fulton County shall transport
    and deliver said Defendant to the State hospital for the mentally ill, to be selected by the
    Department of Human Resources, along with two (2) copies of this Order.
        Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 61 of 76




The Court FURTHER ORDERS that the Defendant be confined and treatment rendered in
accordance with O.C.G.A. §17-7-130.



This the _ _ 3__ day of ~
                          (/
             Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 62 of 76

                                                       FORENSICS                               PAGE    02/11
01/17/2014    12:22          4042125490
             '-'111'1'''-'
                (;

                               IN THE SUPERIOR COURT OF FULTON COUNTY
                                           STATE OF GEORGIA·

      STATE OF GEORGrA

      v.                                                 INDICTMENT NOS:

      WILLIB C. WALKER,                                   19SC93691
                                                          11SC99124
               Defendant.

       JUD~MENT AND ORDER OF      CIV1L COMMITMENT FOLLOWING A FINDING 0li
                     INCOmETENCE TO STAND TRIAL F9RYIOLltNT OFFENSE

               This matter came before the undersigned Judge on a Petition for Headng tG

      Determine Need for Civil Commit~ent to the Depar~m,ent of Behavioral Health and

      Development DisabHlties after bein~ found Incompetent to Stand Trial pursuant to

      O.C.G.A.§ 17-7-130. A hearing wat held on January IO~ 2014 in which tIle Defendant was

      represented by Chanda.ni Patel and the State was represented by Irina Kbasin and David

      Wong. The Court having heard clea.r and convincing evidence of the Defendant's mental

      condition at said hearing makes the following fin.dings of fact and conclusions oflaw:

           L The accused in charged with the violent offenses of Aggravated Child Molestation

              and Obstruction of Law Enforcement Officer.

           2. The accused bas been found Incompetent to Stand Trial on the foregoing charges.

           3. The accused in mentally ill with a diagnosis of Schizophrenia Paranoid typo.

           4. The accU8ed patient presellt8 a substantial risk of imminent harm to self or others or

              is so unable to care for his own physical health and safety as to create an imminently

              life-endangering crisis.

           5. Commitment to the Department of Behavioral Health and Developmental
                                Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 63 of 76
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                             6. The Court frods the accu.sed is a mentally ill person who meets the statutory criteria

                                requiring involuntary treatment as set out in O.C.G.A. § 37-3-1(9.1).

                             7. The accused shall be reevaluated annually for civil commitment to the Department

                                of Behavioral Health and Developmental Disabilities. However, pursuant to

                                a.C.G.A. § 1?~?~130 (e)(2)(B)(iv), the accllsed shall not be civilly comlnitted beyond

                                the maximum period of life, which is the most the accused could have been

                                sentenced on the most sedous violent offence cha.rged of Aggravated ChHd Molestation.

                              The Coul;'i;     ·baving found the accused meet! the civil commitment criteria of

                             O.C.G.A.§ 37 3.1, etseq.• it is therefore ORDERED that the Sheriff of Fulton County
                                           8




                             transport and deliver said accused to a state hospital for the mentally ill, to be selected

                             by the Department of Behavioral Health and Developmental Disabilities, along witll two

                             (2) copies oftMs Order.

                                IT IS FURTHER ORDERED that the accused shall be confined in said facility until
                          this Court. pursuant to the procedures outlined in D.C.O.A. § 17~7~130, shall find and

                          determine that said accused no longer meets the inpatient civil commitment criteria.

                                SO ORDERED, this       L       day of January, 2014.



                                                           ---[blol524.
                                                                 I 6~
                                                               Tom Campbell, Jlld£¢
                                                               Superior Court of Fulton County
                                                               Atlanta Judicial Circuit
                      CoQies tp;
                      Irina. Khasin
                      David Wong
                      Chandan I Patel




                                                ...
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  ORIGINAL
       IN THE SUPERIOR COURT OF FULTON
                             STATE OF GEORGIA

STATE OF GEORGIA                             )
                                             )
       v.                                    )      CASE NO. lOSC93691
                                             )                   11SC99124
WILLIE WALKER,                               )
     Defendant.                              )

                   ORDER MODIFYING CIVIL COMMITMENT


       The Defendant, having previously been found incompetent to stand trial on
charges of Aggravated Child Molestation and Obstruction of a Law Enforcement Officer,
and having met the criteria for involuntary inpatient civil commitment was committed to
the custody of the Georgia Department of Behavioral Health & Developmental
Disabilities. This case came before this Court on January 14, 2016, for annual review
pursuant to O.C,G.A. § 17-7-130.

       On January 14.2016, this Court held a review hearing. Defendant was present and

he was represented in the hearing by Attorney Chand ani Patel of the Atlanta Circuit

Public Defender's Office. The Court heard testimony from Dr. Theresa Betts. Prior to the

hearing, Dr. Betts submitted a letter dated January 12,2016 (Attachment A)

recommending a modification that would allow Defendant to participate in community

outings and eventually to have day and overnight passes in order to visit potemiai grou}J

homes. Initially, Defendant would be taken on community outings along with 2 staff

members; then, after severhl successful outings, he would be allowed to continue

community outings with supervision on 1 staff member to 5 individuals.

       Based on the Defendant's treating psychologist. who testified that the Defendant

continued to meet the criteria for involuntary civil commitment and
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recommendations in the above-referenced letter dated January 12,2016, the Court

FINDS that the State has met its burden for involuntary inpatient civil commitment ofthe

Defendant as set forth in D.C.G.A §§ 37-3-1 and 17-7-130 and authorizes the

modifications referenced above.

       Specifically, the Court FINDS that: (1) the Defendant continues to meet the

criteria for civil commitment based on his current inability to recognize the impact of his

mental illness on his functioning his need for on-going treatment, and failure to
                                  j




recognize the need to change his behaviors based on his charges of aggravated chUd

molestation. As such, he is considered to be a danger to himself, to others, and is unable

to care for himself; and (2) that the Defendant is incompetent to proceed either to trial or

to enter into a plea of gUilty as he is incapable of understanding the nature and the object

of the criminal proceedings against him, unable to comprehend his own condition, and

unable to assist counsel in providing a proper defense.

       ACCORDINGLY. the Court hereby ORDERS that the Defendant shaH be

continued on commitment to the Georgia Department of Behavioral Health &

Developmental Disabilities for a period not to exceed twelve (12) months. During that

twelve-month period, the Defendant shall be confined as provided by the modified

conditional release and treated as deemed appropriate by medical staff in accordance with

O.C.O.A.   §17-7~130.   The Defendant will appear before this court again no later than

January 12,2017, or as soon as practicable thereafter for an Annual Review.
  Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 66 of 76




           SO ORDERED this                ~~~ay of March 2016.




Order Pr¢pllled by:
David Octacllew-8mith, Sr.
Chief Senior Asslstllllt District Anomey
Office or the Fulton County District Attorney
136 Pryor Street, SW - Third Floor
Atlanta. GA 30303
(404) 61)-4782
           Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 67 of 76




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    STA'l'E OF GEORGiA                              )
                                                    )
            versus                                  )
                                                    )
    WILLIE C. WALKER,                               )
            Defendant.                              )

                            ORDER MODIFYING CML COMMITMEN'f

           After   WILLIE   C.   WALKER    ("Defendant") was found incompetent to stand trial
    on charges of aggravated child molestation and obstruction of a law enforcement
    officer. This COllrt found that Defendant met the criteria for involuntary inpatient
    civil commitment, and committed Defendant to the custody of the Georgia
    Department of Behavioral Health and Developmental Disabilities ("DBHDD"). This
    case came back before the Court on March 22, 2017, for annl.lall'eview pursuant to
    OCGA § 17-7-130. Defendant was present at the hearing and was represented by
    attorney CHANDANI PATEL, Esq., of the Atlanta Public Defender's Office.

           At that hearing, the Court took testimony concerning Defendant's treatment
   from 'l'HERESA J. BE1'TS, Psy.D., a clinical psychologist at Central State Hospital,
   and admitted into evidence a report written by Dr. Betts regarding the same
   ("State's Exhibit I").

           According to Dr. Betts, Defendant had not threatened or physically assaulted
   anyone in 2016 and has been participating well in treatment programs, anel his
---l·tl~eatment· teanl--believes--- tliiii     [DefendantrIs--n-o--Tonger an ImmInent -and-
   substantial ricks to others, such that he could be maintained in a less restrictive
   environment." However, Dr. Betts opined that Defendant continues to meet the
   criteria for civil commitment. For example, Dr. Betts opined that Defendant's
   improvement is based in part upon medications, that Defendant is unlikely to
   maintain such medications without supervision, and that without such medications,
   Defendant is likely to decompensate.
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       Dr. Betts opined that Defendant still meets the criteria for involuntary civil
 commitment and recommended a modification of that commitment that would allow
 Defendant: "to participate in day and overnight visits when a suitable placement
has been identified that addresses his needs for living in the community" which can
provide him u structured environment which addresses: "safety issues in his
interacting with children; preventing his return to the vacant house where he
[previously] was residing; compliance with psychotropic medications; and living
under the supervision of the Court while being monitored by" DBHDD. See State's
Exhibit 1, page 2.

       Based on Dr. Betts's testimony and Report, this Court       FINDS   that the State
has met its burden for involuntary civil commitment of Defendant as set forth in
aCGA §§ 37-3-1 and 17-7-130, and authorizes the modifications references above.

       After hearing the testimony presented, considering the record in this case
inclusive of previous annuall'eviews, and considering the positions of the State and
Defense, the Cmu't, hereby FINDS that Defendant contin'ues to meet the civil
commitment criteria cited above for involuntary outpatient commitment at this
time. The Court hereby makes the following ORDEltS regarding Defendant.'s
committment:

   1. Defendant shall remain under the eal'e and legal custody of DBHDD.
   2. DBHDD is ordered to begin transitioning Defendant from inpatient to
outpatient status. This is to include, but is not limited to, seeking appropriate
placement in- a forensic -gtOtif.fhome,c-ontin'lling offcamllttsQutings, -and appirc-ation
of benefits for Defendant.
   3, Defendant shall be granted day and overnight passes to gl'OUp or personal
care homes for the purpose of tl'ansitioning Defendant back into the community.
   4. Such a home shall be supervised at all times when Defendant is present.
   5. Defendant shall be s'l.lpervised by staff from either Central State Hospital or
a Community Integrative Home (that is: a group home operated by DBHDD) at all
times when he is outside the hospital or group home.
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    6. Defendant shall refrain from:
       u. lnten'acting with minors;
       b. The use of alcohol or any drugs which are not prescribed for him as part of
          his treatment plant; and
       c. Possession of firearms, knives. or weapons of any kind.
    7. Defendant's passes al'e contingent upon Defendant's continued adherence to
the rules and regulations of the Forensic Tl'eatment Program at Central State
Hospital. If Defendant fails to adhere to the parameters set forth by the Forensic
Treatment Team on any occasion, the Forensic Treatment Team shall have the
discretion to suspend these passes.
   8. Prior to placing Defendant, Defendant's Treatment Team I DBHDD first
mllst identify an appropriate outpatient facility or community integrative home and
an outpatient commitment plan must be submitted to the Court for final approval.
Such placement must be appropriately structured and supervised, and shall include
at a minimum 24-hour staffing with alarm notices on all doors and windows.
Further, Defendant's Treatment Team I DBHDD shall submit such outpatient
commitment plan to this Court as soon as is possible after identifying such
placenlent.
   9. The Sheriff of Defendant's residence, or other appropl'iate jurisdiction, or his
lawft:tlly designated deputy, is authorized to take Defendant into their custody and
transport Defendant to Central State Hospital or local Georgia Regional Hospital
upon telephone request from Central State Hospital without t11e need for an
additional Order from this Court.

      So ORDERED this the    31$T day of March. 2017.




                   The Honorable TOM CAlvI ELL
                   Judge, Superior Court of Fulton County
         Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 70 of 76




Prepared by:




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Consented to by:

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. Q·~·~__c:'.LL~~,,,-\·=.,;:/c)2\
Chandani Patel
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Atlanta Circuit Public Defender's Office
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Atlanta, GA 30303
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chandani.patel@fultoncotmtyga.goY
      Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 71 of 76
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                              --···~-cS.T.4TE OF GEORGiA'··

Slate of Georgia                                                           )              Indictment No.1 OSC93691 and 11 8C99124
                                                                           )
                                                                            )
                                                                            )             Judge Tom Campbell
\V lLLffi \VALKER                                                           )



                                ORDER MQDIFYINGCIVIL COMMITMENT
                                           (AMENDED)

                  A.t4:er tf1e Defendant, WiIlie Walker, was found incompetent to stand trial on charges

of aggravated child molestation and obst11lction of-a law enforcement officer (felony), this

Court found that Defendant met the criteria tor involuntary inpatient civil commitment and

committed Defendant to the custody ofth.e Georgia Depa.rtment of Behavioral Health and

Developmental Disabnities                                      C·DBFIDD·~).            This case caine before the Court 'On March 22,

2017 for annual reviewpursuantto OCGA 17-7-130_ Mr. Walker was present at the hearing

and was represented by attorney, Chandani Patel, 'Of the Atlanta Public Defender's Office.

                 A..fter hearing the testimony presentee!, considering the-record in this case inclusive of

previous annual reviews, and considering the pasitions 'Of the State and Defense, the Court

FOUN"D that Mr. Walker continued to meet the civil comntitmeIrt criteria but was eligible for

involuntary outpatient commitment. The Court ordered the DBHDD to begin transitioning

Mr. Walker fram inpatient to outpatient status. Additionally, prior to permanently piacing

Mr. Walker in an outpatient faciIit'!. tlle Court ordered DBHDD to submit                                                                       a detailed
outpatient com..1l1itment plan for the Co"Q.'1:' s fimil approval.

                 On October 23~ 2017, DI-iBDD identified an appropriate 'Outpatient facility for MI-_
   Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 72 of 76
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Walker as "y'ell as orovlded
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                                                                                                                        After
                                                                              ,   ."
receiv.ing the plan, the Court hereby makes the following OR:DER8,re~ajdilTg).1r. Walker's

commitment:

    I. "1\11'. Walker shall reside at the fo]Jo\ving residence:
       Boat House Inc., a COlTl111UJrity Integrated Home (Crn:)
        1236 Boat Rock Rd, Atlanta. GA 3033 L
       Contact Person: Demetda Carson, LPC
       Telephone number: 470-259-3265

   2. The COUlt approves this outpatient comrru1ment placement only so long as the CItI
        maintains 24 hour a day staffing with alann notices on all ofthe doors and windows.
        Should the eIH fall below these standards, the DBHDD must retum1vIr. \Valker to
        an, inpatient facility or. with the Com"r s approval. to a.T1other appropriate outpatient
        facility which does meet these standards.

   3. Mr. Walker shall receive Day Progra:ITl.ming thr'ough the following agency:
        Genesis Alliance for Mental Wellness
        4540 ~Aemor:ia1 Dr. #C
        Decatur, GA 30032
        Telephone number:        678~683-7970


   4. "Mr. Walker shall attend all scheduled appointments with his treatingpsychlatrist and
      other mental health providers. He shall attend day program regularly_ Boat I-louse,
      Inc. will provide transportation to the mental health center and the Day Progr8.tll. Mr.
      \Valker shall be supervised at all times when in the community (to include all times
      when he is outside the Clli). He shall have no independent access to the community.

   5. Mr. Walker must take ail prescribed medications and must participate in any
        prescribed laboratory testing.

   6. Mr. Walker shall not malce any threats or actions to harm himself 0"[ others. He shall
      not possess any weapons

   7.        \Valker shall not drink alcoholic beverages or use any street d11lgs or medications
        fyiI'.
        that are not prescribed specifically for him. He shall submit to random drug screen
        testing.

   8. If Mr. Walker experiences significant symptoms of his mental illness, he wiIi be
      admitted to a crIsis stabilization program. if deemed appropriate by his treatment
         Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 73 of 76




                                                     ".
                                                           .,   ,




          team.

       9. Mr. Walker shall be supervised at any time he is in a situation in which a child could
          be present.

       10. Any visits by f.anlily or friends shall be supervised and Mr. Vlalker shall not visit
          others outside of the group home for at least the first six months ofhis placement. At
          that time, his community team 'vvill determine if supervised day visits to family or
          friends is appropriate.

       11. If Mr. Walker becomes dangerous to himself or others or leaves the         eill.
                                                                                          the
           Forensic COTIl1lluruty Coordinator, Asalmah Abulbaaqee 470-925-6271 "vill be
           notified. The Outpatient Forensic Director. Dr. Darcy Shores 4 78-251-5805~ will be
           notified as needed for further directions.

          SO ORDERED this the 7111 day ofNovember~ 2017.



                                                    i OU"h          -C14~!dL
                                                 runGE TOM CAivfPBE:CL
                                                 FULTON COUNTY SUPERIOR COURT
                                                 ATLANTA JUDICIAL CIRCUlT

  Prepared by:
, Chandani Patel
  Attorney tor the Defendant
  Bar No. 350737

 cc:
Kevin Annstrong
Assistant District Attomey
Office of the Fulton County District Attomey
136 Pryor Street, SW - Third Floor
Atlanta, GA 30303
         Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 74 of 76
                                                                Fulton County                                                             Superiof~Courl
                                                                                                                                        "'EFILEDh'NE
                                                                                                                                Date: 11/8/2018831 AM
                                                                                                                              Catllelene Robinson, Clerk




                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                 ST ATE OF GEORGIA

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                                                  )         10SC93691
    v.                                            )
                                                  )         Judge Tom Cat:nPbell
                                                                       .    ""'.              -',   ,-


    WILLIE \V ALKER                                )



                           ORDER MODIFY1NG CIVIL ee*~\1ENT

            After the Defendant, Willie Walker, was found incompelent to stand trial on charges
                                                                   -   _._-
    of aggravated child molestation, this Court found that Defendant met the criteria for

    involuntat); inpatient civil commitment and committed Defendant to the clIstody of the

    GI:;OIgia Depanment of Behavioral Health onc] Devc!oPJ11.2I1IaLOisabilities (""DBHDD"). ,
                                                                                       _.-.                 --
    This case came before the COUl1 on I'\Ovembcf 5.201811)[ annual review pursuant toDCGA

    17-7-130. lvlr. Walker was present at the hearing and \vas represented by attorney, Zachary

    Podcnski"g,j--·rne .;.\llama Public Defender's

            After hearing the lestimony presented, com;idering lheiccord in this case inclusive of

    previous lli.:mual reviews, and considering the posirions..at$c,'&tf}rcand peJcnse, 1:IJe;.g2.Ll~i:·
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    FOUl\D iila[ Nir. \Valker continued to meet the: civil cominitthe~}l:.cri[:!:ria bULwas digibldbr.

    oUlpatient treatinenL The Coutrfunher Brdcrt:d4Ha!!.J::y~~9

    Shor:JS of DBHDl), Mr. Walker shaH be all(j\'te4~~I~~~Impa ::slJpponed fOl'ensic
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              .Mr...W.alker:.~~~~~~~~~~
'f:",:;,>~-··~~';.:~·~af~~h11i;mce 'fot
            4540 \1cmorial Dr. #C
            Decatur, GA 30032
     Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 75 of 76




        TekphOrlC number: 678-683-7970

    2. i'll£'. Walker shall attend all   scheclLll~d
                                                 appointments with his trenting psychbtrist and
        other mcnWI h;.:,dlh providers. I k slmll aU~lld day program reglliarly. 1'v11'. Walker
        mll:;t he supervised al ,111 lime wben in the community. lie shall have no indercndcnt
        access lO the community.

    3. Iv11'. \\talkcr nlust lake [111 pr~scribed 111cdications and                    11lUSl   parlicipflte in any
       prescribed laboratory testing .

   ..;. IV\ r. \Val kcr slwlll\(il i11.1ke nny   ihr~ats   or ucti0n5 to harm liimscl for oth-::i'S. ! Ie ::;hnll
        not possess ,my \,,'eapons

    5. ;"Ir. Walker shall nol drink alcoholic beverages or lise any street drugs or medication::;
        that arc not prescribed spccitically for him. 1Ie shall submit to random drug screen
        tesling.

    6. If Ivl1'. Walk.::r experiences significant sympLoms of his mClllal illness, he will be
       admitted to n crisis stabilization program, if deemed approprime by his treatment
        leU)).


    7. ivlr. WolkeI' shnll be sllp.::rviscd at (lilY time        b~   is in   ~   situation. in \\'hich it is likely
       chi Idren wi II be present.

    8, 11' lvl r. Walkcl"bccmn0s tifii)gCl'OllS to himscl r or others or !cf1\'CS the supponed
       forensic apartment, the Outpatient forcnsit: Dirct:tor. Dr. Durcy Shores 478-151-
       5805, will be nOlilicd.

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                                                           j:ULTO\: COUNTY SUPI~R[OR COURT
                                                           ATLANTA JUDIClAI. CmCUIT

Prepared by:
Zachary Podcnski
Attorney f01' the De!~nd~m
!Jar 1"0, 760173        .. '
                                    Case 1:19-cv-03741-CAP Document 3 Filed 08/26/19 Page 76 of 76




                           cc:
                           Kevin Armstrong
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 .. ~~,~-". '-"-~Y36p'rydr Streel, SW~- ;fhird Floor
                           Atlanta, GA 30303

                           Darcy L Shores, Ph.D, Psy.D.
                           Director, CommLU1ity Forensic Services-West
                           Georgia Dcpanmcm of Behavioral Health & Developmental Disabilities
                           3000 Schatu!i!a. Road, B~iilding 5
                           " ••   "'__   _   , ..   _   o....i     -     ........


                           Columbus, GA 31907

                           Danelle foster, M.S .. L.A.P.C,
                           forensic Community CoordInator
                           Georgia Depanmerft of'Behavioral Health & Developmental Disabiiilies
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